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                      Centers for Disease Control and Prevention

                   Office for State, Tribal, Local and Territorial Support

National Initiative to Address COVID-19 Health Disparities Among Populations at High-Risk
and Underserved, Including Racial and Ethnic Minority Populations and Rural Communities

                                  CDC-RFA-OT21-2103

                                        05/03/2021
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 Part I. Overview
Applicants must go to the synopsis page of this announcement at www.grants.gov and click on
the "Subscribe" button link to ensure they receive notifications of any changes to CDC-RFA-
OT21-2103. Applicants also must provide an e-mail address to www.grants.gov to receive
notifications of changes.
 A. Federal Agency Name:
Centers for Disease Control and Prevention (CDC) / Agency for Toxic Substances and Disease
Registry (ATSDR)
 B. Notice of Funding Opportunity (NOFO) Title:
National Initiative to Address COVID-19 Health Disparities Among Populations at High-Risk
and Underserved, Including Racial and Ethnic Minority Populations and Rural Communities
 C. Announcement Type: New - Type 1:
This announcement is only for non-research activities supported by CDC. If research is
proposed, the application will not be considered. For this purpose, research is defined
at https://www.gpo.gov/fdsys/pkg/CFR-2007-title42-vol1/pdf/CFR-2007-title42-vol1-sec52-
2.pdf. Guidance on how CDC interprets the definition of research in the context of public health
can be found at https://www.hhs.gov/ohrp/regulations-and-policy/regulations/45-cfr-
46/index.html (See section 45 CFR 46.102(d)).
D. Agency Notice of Funding Opportunity Number:
CDC-RFA-OT21-2103
E. Assistance Listings Number:
93.391
F. Dates:
1. Due Date for Letter of Intent (LOI):
03/26/2021

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2. Due Date for Applications:
05/03/2021
11:59 p.m. U.S. Eastern Standard Time, at www.grants.gov.
3. Due Date for Informational Conference Call:
CDC will host two informational conference calls for potential applicants:

Date: 03/30/2021

Times: 3:00pm to 4:00pm Eastern Standard Time
and
6:00pm to 7:00pm Eastern Standard Time

Meeting Details:
Join ZoomGov Meeting
https://cdc.zoomgov.com/j/16040976381?pwd=NmNjdFcrQlFVSjVPZ25nR0dHay9zdz09

Meeting ID: 160 4097 6381
Passcode: OT21-2103
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Dial by your location
     +1 669 254 5252 US (San Jose)
     +1 646 828 7666 US (New York)
     +1 669 216 1590 US (San Jose)
     +1 551 285 1373 US
Meeting ID: 160 4097 6381
Passcode: 708148093
Find your local number: https://cdc.zoomgov.com/u/advmPjIAqk

Join by SIP
16040976381@sip.zoomgov.com

Join by H.323
161.199.138.10 (US West)
161.199.136.10 (US East)
Meeting ID: 160 4097 6381
Passcode: 708148093
G. Executive Summary:
1. Summary Paragraph
The Consolidated Appropriations Act, 2021 (P.L. 116-260), which contained the Coronavirus
Response and Relief Supplemental Appropriations Act, 2021 (P.L. 116-260, Section 2, Division
M) provided, in part, funding for strategies to improve testing capabilities and other COVID-19
response activities in populations that are at high-risk and underserved, including racial and

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ethnic minority groups and people living in rural communities. Strategies also include those to
develop or identify best practices for states and public health officials to use for contact tracing.

To achieve these purposes, the Centers for Disease Control and Prevention (CDC) is announcing
a non-competitive grant CDC-RFA-OT21-2103 titled “National Initiative to Address COVID-
19 Health Disparities Among Populations at High-Risk and Underserved, Including Racial and
Ethnic Minority Populations and Rural Communities.” This grant will provide funding to address
COVID-19 and advance health equity (e.g., through strategies, interventions, and services that
consider systemic barriers and potentially discriminatory practices that have put certain groups at
higher risk for diseases like COVID-19) in racial and ethnic minority groups and rural
populations within state, local, US territorial, and freely associated state health jurisdictions.
a. Eligible Applicants:
Open Competition
b. Funding Instrument Type:
G (Grant)
c. Approximate Number of Awards
108
d. Total Period of Performance Funding:
$ 2,250,000,000
All funding will be disbursed during year one with a total performance period of two years.
e. Average One Year Award Amount:
$0
Funding will vary by jurisdiction category. Average one-year award amount by applicant type:
      State Health Department: $32,000,000
      Local Health Departments Serving a County or City with a Population of ≥2 Million:
       $26,000,000
      Local Health Departments Serving a City with a Population of 400,000 or more, but less
       than 2 Million: $5,000,000
      US Territories and Freely Associated States: $3,000,000
f. Total Period of Performance Length:
2
g. Estimated Award Date:
June 01, 2021
h. Cost Sharing and / or Matching Requirements:
No
Cost sharing or matching funds are not required for this program. Although no statutory
matching requirement for this NOFO exists, leveraging other resources and related ongoing
efforts to promote sustainability is strongly encouraged.
Part II. Full Text
A. Funding Opportunity Description


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1. Background
a. Overview
Coronavirus disease 2019 (COVID-19) has disproportionately affected populations placed at
higher risk and who are medically underserved, including racial and ethnic minority groups, and
people living in rural communities who are at higher risk of exposure, infection, hospitalization,
and mortality. Additionally, racial and ethnic minority groups and people living in rural
communities have disproportionate rates of chronic diseases that increase the severity of
COVID-19 infection and might experience barriers to accessing testing, treatment, or vaccination
against the severe acute respiratory syndrome coronavirus 2 (SARS-CoV-2), which causes
COVID-19.

To reduce the burden of COVID-19 among populations disproportionately affected, it is
imperative that state, local, US territorial, and freely associated state health departments (or their
bona fide agents) work collaboratively and develop partnerships with key partners who have
existing community or social service delivery programs for African American, Hispanic, Asian
American, Pacific Islander, Native American or other racial and ethnic minority groups or people
living in rural communities. Such key partners may include:
      Community-based and civic organizations;
      Tribes, tribal organizations;
      Academic institutions, and universities (e.g., minority serving institutions – Historically
       Black Colleges and Universities (HBCUs), Hispanic Association of Colleges and
       Universities (HACUs), American Indian Higher Education Consortium (AIHEC),Tribal
       Colleges and Universities (TCUs);
      Asian American and Pacific Islander Serving Institutions (AAPI);
      Faith-based organizations;
      Non-governmental organizations;
      Correctional facilities and institutions;
      Local governmental agencies and community leaders;
      Local businesses and business community networks and organizations, (e.g., employers,
       local chambers of commerce, small business community groups);
      Social services providers and organizations, including those that address social
       determinants of health (e.g., community transportation; anti-discrimination organizations;
       legal services);
      Health care providers, including community health centers (e.g., federally qualified
       health centers, (FQHCs);
      Health-related organizations, (e.g., pharmacies, testing centers, community health
       workers);
      State Offices of Rural Health (SORH) or equivalent, State Rural Health Associations
       (SRHAs);
      Rural Health Clinics (RHCs) and Critical Access Hospitals (CAHs); and
      Governmental organizations focused on non-health services (e.g., Coordinating Council
       on Access and Mobility – Department of Transportation, Supportive housing for the
       elderly – Housing and Urban Development).

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To reach populations at higher risk, underserved, and disproportionately affected, including
racial and ethnic minority groups and people living in rural communities, it is critical for funded
recipients and key partners to implement a coordinated and holistic approach that builds on
culturally, linguistically, and locally tailored strategies and best practices to reduce COVID-19
risk. In addition, a coordinated and holistic approach is essential to building and sustaining trust,
ensuring equitable access to COVID-19 related services, and advancing health equity to address
COVID-19 related health disparities among populations at higher risk, underserved, and
disproportionately affected .1
b. Statutory Authorities
Section 317(k)(2) of the Public Health Service Act [42 USC 247b(k)(2), as amended] and the
Consolidated Appropriations Act, 2021 (P.L. 116-260), which contained the Coronavirus
Response and Relief Supplemental Appropriations Act, 2021 (P.L. 116-260, Section 2, Division
M, Title III).
c. Healthy People 2030
This emergency funding opportunity focuses on emergency preparedness and response
foundational capability and addresses the "Healthy People 2030" focus areas of Preparedness,
Vaccination, Health Communication, Respiratory Disease, Infectious Disease, Public Health
Infrastructure, and Social Determinants of Health.

For specific objectives within these topic areas, please visit www.healthypeople.gov.
d. Other National Public Health Priorities and Strategies
     Executive Order on Ensuring an Equitable Pandemic Response and Recovery (EO13995)
     Executive Order on Advancing Racial Equity and Support for Underserved Communities
       Through the Federal Government (EO13985)
     National Strategy for the COVID-19 Response and Pandemic Preparedness (see Goal 6)
     CDC COVID-19 Response Health Equity Strategy: Accelerating Progress Towards
       Reducing COVID-19 Disparities and Achieving Health Equity
     Centers for Disease Control and Prevention Coronavirus 2019 (COVID-19)
       Recommendations and Guidance for state, local, territorial and tribal health departments
e. Relevant Work
This NOFO is complementary and non-duplicative of the following CDC program activities,
public health priorities, and strategies:
      CDC-RFA-CK19-1904: 2019 Epidemiology and Laboratory Capacity for Prevention and
       Control of Emerging Infectious Diseases (ELC)
      ELC Enhancing Detection Emerging Issues (E) Project: Funding for the Enhanced
       Detection, Response, Surveillance, and Prevention of COVID-19 - Supplement
      CDC-RFA-OT18-1802: Strengthening Public Health Systems and Services Through
       National Partnerships to Improvement and Protect the Nation’s Health
2. CDC Project Description
a. Approach
Bold indicates period of performance outcome.


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Due to the nature of this grant and public health crisis, there is not a predetermined logic model.
It is expected that funds from this grant will be used to strengthen public health infrastructure,
preparedness and response capabilities and services in state, local, US territorial and freely
associated state health departments (or their bona fide agents) to address COVID-19 related
health disparities and advance health equity in underserved and disproportionately affected
populations through testing, contact tracing and other mitigation strategies. All applicants must
define the populations disproportionately affected by COVID-19 within their respective
jurisdiction, describe how they will reach these populations, and describe their experience
working with communities that are underserved and at higher risk for COVID-19 disparities and
health inequities.

Recipients will be required to include a financial carve out for rural communities, as applicable.
As such, applicants who serve rural communities must define these communities and describe
how they will provide direct support (e.g., funding, programs, or services) to those communities
in their applications. State government applicants must also engage their State Office of Rural
Health (SORH) or equivalent, in planning and implementing their activities and describe in their
application how their SORHs or equivalent will be involved. To that end, CDC recommends
state government applicants engage their respective SORH or equivalent, early in the application
process. Contact information for SORHs can be found at: https://nosorh.org/nosorh-
members/nosorh-members-browse-by-state/.

In addition, applicants are strongly encouraged to develop partnerships and collaborate with key
partners who have existing community or social service delivery programs for African
American, Hispanic, Asian American, Pacific Islander, Native American or other racial and
ethnic minority groups or people living in rural communities. Such key partners may include:
      Community-based and civic organizations;
      Tribes, tribal organizations;
      Academic institutions, and universities (e.g., minority serving institutions – Historically
       Black Colleges and Universities (HBCUs), Hispanic Association of Colleges and
       Universities (HACUs), American Indian Higher Education Consortium (AIHEC),Tribal
       Colleges and Universities (TCUs);
      Asian American and Pacific Islander Serving Institutions (AAPI);
      Faith-based organizations;
      Non-governmental organizations;
      Correctional facilities and institutions;
      Local governmental agencies and community leaders;
      Local businesses and business community networks and organizations, (e.g., employers,
       local chambers of commerce, small business community groups);
      Social services providers and organizations, including those that address social
       determinants of health (e.g., community transportation; anti-discrimination organizations;
       legal services);
      Health care providers, including community health centers (e.g., federally qualified
       health centers, (FQHCs);



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      Health-related organizations, (e.g., pharmacies, testing centers, community health
       workers);
      State Offices of Rural Health (SORH) or equivalent, State Rural Health Associations
       (SRHAs);
      Rural Health Clinics (RHCs) and Critical Access Hospitals (CAHs); and
      Governmental organizations focused on non-health services (e.g., Coordinating Council
       on Access and Mobility – Department of Transportation, Supportive housing for the
       elderly – Housing and Urban Development).

Through this collaborative approach, applicants will be better able to maximize the impact of
their federal COVID-19 funding, strengthen implementation of strategies and activities, and
align resources to better match the burden of COVID-19 among populations who are at higher
risk and are underserved. This collaboration must be described in the application.

Applicants are encouraged to establish new funding relationships with partners and community
organizations and may also continue funding relationships with partners and community
organizations that have experience working with communities most affected by COVID-19 and
have the capacity to implement strategies and activities outlined in this NOFO. To ensure
resources reach the areas of greatest need, all applicants are strongly encouraged to use local
epidemiologic, surveillance, and other available data sources to inform local resource allocation
and program efforts, including program planning, implementation, and evaluation.
i. Purpose
Address COVID-19-related health disparities and advance health equity by expanding state,
local, US territorial and freely associated state health department capacity and services to prevent
and control COVID-19 infection (or transmission) among populations at higher risk and that are
underserved, including racial and ethnic minority groups and people living in rural communities.
ii. Outcomes
The intended outcomes for this grant are:
   1. Reduced COVID-19-related health disparities.
   2. Improved and increased testing and contact tracing among populations at higher risk and
      that are underserved, including racial and ethnic minority groups and people living in
      rural communities.
   3. Improved state, local, US territorial and freely associated state health department capacity
      and services to prevent and control COVID-19 infection (or transmission) among
      populations at higher risk and that are underserved, including racial and ethnic minority
      groups and people living in rural communities.
iii. Strategies and Activities
This grant program will address COVID-19-related health disparities and advance health equity
by expanding state, local, US territorial and freely associated state health department capacity
and services to prevent and control COVID-19 infection (or transmission) among populations at
higher risk and that are underserved, including racial and ethnic minority groups and people
living in rural communities. All strategies should aim to build infrastructures that both address
disparities in the current COVID-19 pandemic and set the foundation to address future responses.

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The program is composed of four overarching strategies:

1. Expand existing and/or develop new mitigation and prevention resources and services to
reduce COVID-19 related disparities among populations at higher risk and that are
underserved: Ensuring equitable access to critical COVID-19 personal protective equipment
(PPE), testing, contact tracing, quarantine and isolation, vaccination, and other wrap-around
services require deploying focused strategies, resources, and activities to meet the needs of
individuals and mitigate the spread of COVID-19 among populations disproportionately
impacted.
Priority activities for Strategy 1 should include:
      Expand testing (including home test kits and mobile testing sites) and contact tracing
       among populations at higher risk and that are underserved, including racial and ethnic
       minority populations and people living in rural communities;
Additional activities may include but are not limited to:
      Vaccine coordination, quarantine and isolation options, and preventive care and disease
       management among populations that are underserved and at higher risk for COVID-19
      Tailor and adapt evidence-based policies, systems, and environmental strategies to
       mitigate social and health inequities related to COVID-19
      Identify and establish collaborations with critical partners affiliated with populations at
       higher risk and that are underserved, including racial and ethnic minority groups at higher
       risk for COVID-19 to:1) connect community members to programs, healthcare providers,
       services and resources (e.g., transportation, housing support, food assistance programs,
       mental health and substance abuse services, substance abuse) they might need and 2)
       lessen adverse effects of mitigation strategies
2. Increase/improve data collection and reporting for populations experiencing a
disproportionate burden of COVID-19 infection, severe illness, and death to guide the
response to the COVID-19 pandemic: Improving data systems and the collection, analysis, and
use of racial, ethnic, and rural health data for COVID-19 prevention and control will help to
better identify populations and communities disproportionately affected, track resource
distribution, and evaluate the effectiveness of advancing health equity to address COVID-19-
related health disparities among disproportionately affected populations. Collection of data that
contextualize racial, ethnic, and rural health data and robust analysis of these data are
fundamental activities for improving data collection and reporting.

Priority activities for Strategy 2 should include:
      Improve data collection and reporting for testing and contact tracing for populations at
       higher risk and that are underserved;
Additional activities may include but are not limited to:
      Build on plans for collecting and reporting timely, complete, representative, and relevant
       data on testing, incidence, vaccination, and severe outcomes by detailed race and
       ethnicity categories, taking into account age and sex differences between groups

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      Develop strategies to educate providers, community partners, and programs on: 1) the
       importance of the race and ethnicity data and appropriate strategies to collect it: 2) how to
       address mistrust/hesitancy about reporting personal information including race and
       ethnicity, and 3) why this information is important to prevent and control the spread of
       COVID-19
      Develop and implement plans to disseminate health equity-related data and related
       materials tailored to be culturally and linguistically responsive for diverse audiences
      Develop key principles and resources for collecting, analyzing, reporting, and
       disseminating health equity-related data to inform action during a public health
       emergency
      Assure adequate resources for data infrastructure and workforce to ensure alignment with
       data modernization
3. Build, leverage, and expand infrastructure support for COVID-19 prevention and control
among populations that are at higher risk and underserved: Sufficient workforce,
infrastructure, and capacity are critical to providing equitable access to disproportionately
affected populations. Where feasible, this short-term program will build, leverage, and expand
the infrastructure and capacity within state, local, US territorial and freely associated state health
departments (or their bona fide agents) to ensure and expand equitable access to critical COVID-
19 testing and contact tracing, as well as PPE, quarantine and isolation, vaccination, and other
wrap-around and supportive services.
Priority activities for Strategy 3 should include:
      Expand the infrastructure to improve testing and contact tracing among populations at
       higher risk and that are underserved, including racial and ethnic minority populations and
       rural communities;
Additional activities may include but are not limited to:
      Establish, enhance, or implement leadership-level health equity offices, workgroups, task
       forces, or positions to guide addressing COVID-19 among communities at higher risk
       and that are underserved
      Convene and facilitate multi-sector coalitions or advisory groups that include members of
       underserved communities and organizations that serve the community. These groups may
       provide advice, guidance, and recommendations for addressing COVID-19 and
       advancing health equity among their communities
      Update jurisdictions’ COVID-19 plans and health equity plans to support communities
       most at risk for COVID-19 with the intention of setting up systems that put in place
       infrastructures and plans that can also support future emergency responses
      Build and expand an inclusive public health workforce, including hiring people from the
       community (e.g., community health workers, social workers, other trusted community
       members) who are equipped to assess and address the needs of communities
       disproportionately affected by COVID-19
 4. Mobilize partners and collaborators to advance health equity and address social
determinants of health as they relate to COVID-19 health disparities among populations at
higher risk and that are underserved: Identifying and addressing current gaps and factors that
influence COVID-19-related health disparities requires a collaborative approach. Under this

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strategy, collaborations between the primary applicant and key partners will broadly address
health disparities and inequities related to COVID-19. (Please refer to Approach section of
NOFO for a list of recommended key partners.)
Priority activities for Strategy 4 should include:
      Build community capacity to reach disproportionately affected populations with effective
       culturally and linguistically tailored programs and practices for testing and contact
       tracing, and quarantine, including racial and ethnic minority populations and rural
       communities;
Additional activities may include but are not limited to:
      Build and implement cross-sectoral partnerships to align public health, healthcare, and
       non-health (e.g., housing, transportation, social service) interventions that decrease risk
       for COVID-19
      Develop mechanisms such as community advisory groups that include leaders
       representing racial and ethnic minority groups and rural community leaders and members
       representing underserved populations to inform COVID-19 and future emergency
       response activities
      Develop and disseminate culturally and linguistically responsive COVID-19 prevention
       communications through various channels (e.g., local media, local or community
       newspapers, radio, TV, trusted communications agents) written in plain language and in
       formats and languages suitable for diverse audiences—including people with disabilities,
       limited English proficiency, etc.—addressing and, as necessary, dispelling of
       misinformation and barriers to mitigation practices due to mistrust.
      Build community capacity that includes traditional organizations (e.g., public health,
       healthcare) and non-traditional partners (e.g., community health workers, churches,
       transportation providers, social workers) to reach disproportionately affected populations
       with effective culturally and linguistically tailored programs and practices for testing,
       contact tracing, isolating, vaccination, and healthcare strategies
      Identify and establish collaborations with critical partners affiliated with and who provide
       services to populations that are underserved and at higher risk for COVID-19 to
       disseminate scientifically accurate, culturally, and linguistically responsive information
       and facilitate access to health-related services

Applicants are not required to implement all four strategies, but rather they should select the
strategies and activities that best address their jurisdiction’s respective priorities and needs.
Strategies should engage representatives of populations and communities to be served by this
NOFO. CDC will also allow applicants to propose additional strategies and activities beyond
those included in the NOFO to best achieve local outcomes. Any proposed new strategy or
activity should include the rationale for the approach or a brief justification with evidence
showing why it should be included. Applicants should not propose to allocate all funding to one
activity (e.g. all funding will be used for one vaccination or testing event only).
1. Collaborations
a. With other CDC programs and CDC-funded organizations:


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Recipients are encouraged to collaborate, as appropriate, with CDC programs and centers,
institutes, and offices (CIOs) to ensure that activities and funding are coordinated with,
complementary of, and not duplicative of efforts supported under other CDC programs that
support COVID-19 response.

To facilitate the identification and sharing of best practices, program evaluation, training, tool
development, and communications of findings, recipients may receive tailored technical
assistance from select national or regional partner organizations funded through CDC-RFA-
OT18-1802: Strengthening Public Health Systems and Services through National Partnerships to
Improvement and Protect the Nation’s Health.

For questions about collaborating with CDC, please contact the CDC point of contact for this
NOFO.
b. With organizations not funded by CDC:
It is a requirement of this opportunity to include a financial carve out for rural communities, as
applicable. As such, applicants who serve rural communities must define these communities and
describe how they will provide direct support (e.g., funding, programs and/or services) to those
communities. State government applicants must also engage their State Office of Rural Health
(SORH) or equivalent, in planning and implementing their activities and describe in their
application how their SORHs or equivalent will be involved. To that end, CDC recommends
state government applicants engage their respective SORH or equivalent, early in the application
process. Contact information for SORHs can be found at: https://nosorh.org/nosorh-
members/nosorh-members-browse-by-state/.

In addition, applicants are strongly encouraged to develop partnerships and collaborate with key
partners who have existing community or social service delivery programs for African
American, Hispanic, Asian American, Pacific Islander, Native American or other racial and
ethnic minority groups or people living in rural communities. Such key partners may include:
      Community-based and civic organizations;
      Tribes, tribal organizations;
      Academic institutions, and universities (e.g., minority serving institutions – Historically
       Black Colleges and Universities (HBCUs), Hispanic Association of Colleges and
       Universities (HACUs), American Indian Higher Education Consortium (AIHEC),Tribal
       Colleges and Universities (TCUs);
      Asian American and Pacific Islander Serving Institutions (AAPI);
      Faith-based organizations;
      Non-governmental organizations;
      Correctional facilities and institutions;
      Local governmental agencies and community leaders;
      Local businesses and business community networks and organizations, (e.g., employers,
       local chambers of commerce, small business community groups);
      Social services providers and organizations, including those that address social
       determinants of health (e.g., community transportation; anti-discrimination organizations;
       legal services);

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      Health care providers, including community health centers (e.g., federally qualified
       health centers, (FQHCs);
      Health-related organizations, (e.g., pharmacies, testing centers, community health
       workers);
      State Offices of Rural Health (SORH) or equivalent, State Rural Health Associations
       (SRHAs);
      Rural Health Clinics (RHCs) and Critical Access Hospitals (CAHs); and
      Governmental organizations focused on non-health services (e.g., Coordinating Council
       on Access and Mobility – Department of Transportation, Supportive housing for the
       elderly – Housing and Urban Development).

Through this collaborative approach, applicants will be better able to maximize the impact of
their federal COVID-19 funding, strengthen implementation of strategies and activities, and
align resources to better match the burden of COVID-19 among populations who are at higher
risk and are underserved. This collaboration must be described in the application.

Applicants are encouraged to establish new funding relationships with partners and community
organizations and may also continue funding relationships with partners and community
organizations that have experience working with communities most affected by COVID-19 and
have the capacity to implement strategies and activities outlined in this NOFO. To ensure
resources reach the areas of greatest need, all applicants are strongly encouraged to use local
epidemiologic, surveillance, and other available data sources to inform local resource allocation
and program efforts, including program planning, implementation, and evaluation.

Memoranda of understanding (MOUs) or memoranda of agreement (MOAs) are encouraged, but
not required.
2. Target Populations
This NOFO relates specifically to populations that have been placed at higher risk and are
underserved, which, depending on the needs and priorities of the applicant, may include African
American, Latino, and Indigenous and Native American people, Asian Americans and Pacific
Islanders, and other people of color; members of religious minorities; lesbian, gay, bisexual,
transgender, and queer (LGBTQ+) people; people with disabilities; people who live in rural
communities; people over the age of 65, and people otherwise adversely affected by persistent
poverty or inequality.

Recipients are required to define and describe their respective population(s) of focus and
describe how they will provide direct support (e.g., funding, services, or programs) to those
communities within their application. Please include in the description the number of those you
will serve broken out by applicable geographic area and/or community.

Recipients are also encouraged to include members of the populations and communities to be
served in the planning, implementation, and evaluation of program activities.
a. Health Disparities


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Evidence shows that COVID-19-related health disparities are inextricably linked to complex and
widespread health and social inequities that have put many people from populations that are
underserved —including racial and ethnic minority groups and people living in rural
communities—at higher risk of exposure, infection, hospitalization, and mortality from COVID-
19.2, 3, 4 Health equity requires striving for the highest possible standard of health for all people,
giving special attention to the needs of those at greatest risk of poor health, based on social
conditions.

The intent of this funding opportunity is to address COVID-19-related health disparities and
advance health equity by expanding state, local, US territorial and freely associated state health
department capacity and services to prevent and control COVID-19 infection (or transmission)
among populations at higher risk and that are underserved, including racial and ethnic minority
groups and people living in rural communities.

To reduce the burden of COVID-19 among disproportionately affected populations applicants
are strongly encouraged to develop partnerships and collaborate with key partners who have
existing community or social service delivery programs for African American, Hispanic, Asian
American, Pacific Islander, Native American or other racial and ethnic minority groups or people
living in rural communities. Such key partners may include:
      Community-based and civic organizations;
      Tribes, tribal organizations;
      Academic institutions, and universities (e.g., minority serving institutions – Historically
       Black Colleges and Universities (HBCUs), Hispanic Association of Colleges and
       Universities (HACUs), American Indian Higher Education Consortium (AIHEC),Tribal
       Colleges and Universities (TCUs);
      Asian American and Pacific Islander Serving Institutions (AAPI);
      Faith-based organizations;
      Non-governmental organizations;
      Correctional facilities and institutions;
      Local governmental agencies and community leaders;
      Local businesses and business community networks and organizations, (e.g., employers,
       local chambers of commerce, small business community groups);
      Social services providers and organizations, including those that address social
       determinants of health (e.g., community transportation; anti-discrimination organizations;
       legal services);
      Health care providers, including community health centers (e.g., federally qualified
       health centers, (FQHCs);
      Health-related organizations, (e.g., pharmacies, testing centers, community health
       workers);
      State Offices of Rural Health (SORH) or equivalent, State Rural Health Associations
       (SRHAs);
      Rural Health Clinics (RHCs) and Critical Access Hospitals (CAHs); and



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      Governmental organizations focused on non-health services (e.g., Coordinating Council
       on Access and Mobility – Department of Transportation, Supportive housing for the
       elderly – Housing and Urban Development).

To reach populations at higher risk, underserved, and disproportionately affected—including
racial and ethnic minority groups, and people living in rural communities—it is critical for
funded recipients and key partners to implement a coordinated and holistic approach that builds
on culturally, linguistically, and locally tailored strategies and best practices to reduce COVID-
19 risk. In addition, a coordinated and holistic approach is essential to build and sustain trust,
ensure equitable access to COVID-19-related services, and advance health equity to address
COVID-19-related health disparities among populations at higher risk, underserved, and
disproportionately affected.
iv. Funding Strategy
The funding strategy will consist of three components aimed at decreasing health disparities. The
components are defined by type of jurisdiction. The amount of funds available for each
component are based on the overall population size for each type of jurisdiction. Funds will be
awarded for each component using a separate formula that is: a) consistent with the intent of the
legislation and purposes of the grant, and b) appropriate for the eligible recipients. The three
jurisdiction-specific components include:
   1. State, City and County Jurisdictions: Approximately 80% of total available funding will
      be awarded to all states and eligible cities and counties based on COVID-19 social and
      structural determinants, as defined by the COVID-19 Community Vulnerability Index
      (CCVI).
   2. Rural Jurisdictions: Approximately 19% of total available funding will be awarded to
      states with rural populations, as defined by the Health Resources and Services
      Administration (HRSA) Federal Office of Rural Health Policy (FORHP) definition of
      rural. All state recipients will receive a portion of the rural funding available. Each
      recipient’s share will be based on the size of the rural population within the recipient’s
      jurisdiction. These funds will be distributed to state recipients in combination with the
      first Component (i.e., the CCVI allotment, in a single award.)
   3. US Territorial and Freely Associated State Jurisdictions: Approximately 1% of total
      available funds will be awarded to US territories and freely associated states. Each US
      territorial and freely associated state recipient will receive base funding ($500,000), plus
      a population-based allotment that has been adjusted for COVID-19 burden. The COVID-
      19 burden adjustment will be based on the cumulative number of cases and deaths (per
      100,000) for each US territory and freely associated state.

Please see Attachment A: OT21-2103 List of Eligible Applicants for a complete list of eligible
applicants.
b. Evaluation and Performance Measurement
i. CDC Evaluation and Performance Measurement Strategy
Performance measures will be finalized and provided to recipients within approximately 45 days
of award.

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CDC will use recipients’ financial and progress reporting data to address evaluation questions
relating to use of funds and results associated with the grant. CDC will collect this information
quarterly through the end of the period of performance utilizing standardize templates. Quarterly
expenditure and progress reports will be submitted via the Research Electronic Data Capture, or
otherwise known as REDCap. CDC will provide training and technical assistance for recipients
on REDCap post-award.

Given the flexible nature of this grant and diversity of allowable activities, a Data Management
Plan (DMP) is not required unless a recipient chooses to allocate funding to a COVID-19
activity that involves the collection, generation, or analysis of data. The DMP may be submitted
as a checklist, paragraph, or other format. To help guide applicants in developing a DMP, a
sample plan is provided via the following link:
http://www.icpsr.umich.edu/icpsrweb/content/datamanagement/dmp/plan.html

As a result of the declared public health emergency (PHE), COVID-19, CDC’s COVID-19
related data collections currently fall under a PHE Paperwork Reduction Act (PRA) Waiver as
part of the 21st Century Cures Act. PRA requirements for most information collection activities
that support the investigation of, and response to the COVID-19 pandemic, that would normally
require submission of a PRA package, can be waived. If information collection activities
continue beyond the period of the declared public health emergency or beyond the termination
PHE PRA Waiver, all collections will become subject to requirements of the PRA. Awardees
will receive additional guidance from CDC on how to address these PRA requirements.
ii. Applicant Evaluation and Performance Measurement Plan
Applicants must provide an evaluation and performance measurement plan that demonstrates
how the recipient will fulfill the requirements described in the CDC Evaluation and Performance
Measurement and Project Description sections of this NOFO. At a minimum, the plan must
describe:
      How the applicant will collect the performance measures, respond to the evaluation
       questions, and use evaluation findings for continuous program quality improvement.
      How key program partners will participate in the evaluation and performance
       measurement planning processes.
      Available data sources, feasibility of collecting appropriate evaluation and performance
       data, and other relevant data information (e.g., performance measures proposed by the
       applicant)
      Plans for updating the Data Management Plan (DMP) as new pertinent information
       becomes available. If applicable, throughout the lifecycle of the project. Updates to
       DMP should be provided in annual progress reports. The DMP should provide a
       description of the data that will be produced using these NOFO funds; access to data;
       data standards ensuring released data have documentation describing methods of
       collection, what the data represent, and data limitations; and archival and long-term data
       preservation plans. For more information about CDC’s policy on the DMP,
       see https://www.cdc.gov/grants/additionalrequirements/ar-25.html.


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Where the applicant chooses to, or is expected to, take on specific evaluation studies, the
applicant should be directed to:
      Describe the type of evaluations (i.e., process, outcome, or both).
      Describe key evaluation questions to be addressed by these evaluations.
      Describe other information (e.g., measures, data sources).
Recipients will be required to submit a more detailed Evaluation and Performance Measurement
plan, including a DMP, if applicable, within the first 6 months of award, as described in the
Reporting Section of this NOFO.
Due to the nature of this grant and public health crisis, applicants are not required to provide an
Evaluation and Performance Measurement plan with their application. Recipients are strongly
encouraged to use evaluation and performance measurement data at the local level to monitor,
evaluate, and continuously improve program performance. CDC will finalize and provide
performance measures within approximately 45 days of award. Recipients will be required to
report quarterly on CDC defined performance measures and participate in CDC evaluation and
performance management activities. Evaluation reports will be made available to the public.
c. Organizational Capacity of Recipients to Implement the Approach
Applicants must demonstrate the organizational capacity needed to carry out and coordinate
strategies to advance health equity and address COVID-19-related health disparities for
populations at higher risk and that are underserved, including racial and ethnic minority groups
and people living in rural communities.

Applicants must also demonstrate the capacity to collaborate with their State Offices of Rural
Health (SORH) or equivalent, if applicable, and with key partners with community or social
service delivery programs for African American, Hispanic, Asian American, Pacific Islander,
Native American or other racial and ethnic minority groups or people living in rural
communities. Please refer to Approach section of NOFO for a list of recommended key partners.

Acceptable documentation includes, but is not limited to, a signed letter by the health department
leader or their designees on organization letterhead explaining the existing capacity and
capability; departmental organizational charts; an incident management structure organizational
chart; and resumes or CVs for key personnel positions that are currently filled ( include position
descriptions for vacant positions). Applicant must name this file “Organizational Capacity” and
upload it as a PDF to www.grants.gov.
d. Work Plan
Applicants must develop and submit a high-level work plan for the 2-year period of
performance. The work plan must align with the strategies and activities outlined in the NOFO.
Specifically, activities must align to one or more of the following strategies:
      Strategy 1:Expand existing and/or develop new mitigation and prevention resources and
       services to reduce COVID-19 related disparities among populations at higher risk and
       that are underserved



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      Strategy 2: Increase/improve data collection and reporting for populations experiencing
       a disproportionate burden of COVID-19 infection, severe illness, and death to guide the
       response to the COVID-19 pandemic
      Strategy 3: Build, leverage, and expand infrastructure support for COVID-19 prevention
       and control among populations that are at higher risk and underserved
      Strategy 4: Mobilize partners and collaborators to advance health equity and address
       social determinants of health as they relate to COVID-19 health disparities among
       populations at higher risk and that are underserved
Applicants are not required to implement all four strategies, but rather they should select the
strategies and activities that best address their jurisdiction’s respective priorities and needs.
Strategies should engage representatives of populations and communities to be served by this
NOFO. CDC will also allow applicants to propose additional strategies and activities beyond
those included in the NOFO to best achieve local outcomes. Any proposed new strategy or
activity should include the rationale for the approach or a brief justification with evidence
showing why it should be included. Applicants should not propose to allocate all funding to one
activity (e.g. all funding will be used for one vaccination or testing event only).

Applicants must use the template provided as Attachment B: CDC-RFA-OT21-2103 Work Plan
Template. Applicant must name this file “[Name of Jurisdiction] Work Plan” and upload it as an
attachment to www.grants.gov.
e. CDC Monitoring and Accountability Approach
Monitoring activities include routine and ongoing communication between CDC and recipients,
site visits, and recipient reporting (including work plans, performance, and financial reporting).
Consistent with applicable grants regulations and policies, CDC expects the following to be
included in post-award monitoring for grants and cooperative agreements:
      Tracking recipient progress in achieving the desired outcomes.
      Ensuring the adequacy of recipient systems that underlie and generate data reports.
      Creating an environment that fosters integrity in program performance and results.
Monitoring may also include the following activities deemed necessary to monitor the award:
      Ensuring that work plans are feasible based on the budget and consistent with the intent
       of the award.
      Ensuring that recipients are performing at a sufficient level to achieve outcomes
       within stated timeframes.
      Working with recipients on adjusting the work plan based on achievement of
       outcomes, evaluation results and changing budgets.
      Monitoring performance measures (both programmatic and financial) to assure
       satisfactory performance levels.
Monitoring and reporting activities that assist grants management staff (e.g., grants management
officers and specialists, and project officers) in the identification, notification, and management
of high-risk recipients.

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CDC will collect recipient financial and progress reporting data quarterly through the end of the
period of performance.

CDC will also conduct a virtual compliance visit after six months, but before the end of the first
year, from date of the award. The virtual compliance visit will be a telephone call and/or video
conference to ensure the recipient’s compliance with using the funding for the approved
activities and to identify technical assistance needs. CDC may conduct additional in-person site
or virtual visits as needed to best facilitate grants management and oversight duties.
B. Award Information
1. Funding Instrument Type:
G (Grant)

2. Award Mechanism:
CDC-RFA-OT21-2103

3. Fiscal Year:
2021
4. Approximate Total Fiscal Year Funding:
$ 2,250,000,000

5. Total Period of Performance Funding:
$ 2,250,000,000
This amount is subject to the availability of funds.
All funding will be disbursed during year one with a total performance period of two years.
Estimated Total Funding:
$ 2,250,000,000
6. Total Period of Performance Length:
2
year(s)
7. Expected Number of Awards:
108
8. Approximate Average Award:

$0
Per Project Period
Funding will vary by jurisdiction category. Average one-year award amount by applicant type:
      State Health Department: $32,000,000
      Local Health Departments Serving a County or City with a Population of ≥2 Million:
       $26,000,000


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      Local Health Departments Serving a City with a Population of 400,000 or more, but less
       than 2 Million: $5,000,000
      US Territories and Freely Associated States: $3,000,000
9. Award Ceiling:
$ 50,000,000
Per Project Period
This amount is subject to the availability of funds.
Funding will vary by jurisdiction category. Award Ceiling by applicant type:
      State Health Department: $50,000,000
      Local Health Departments Serving a County or City with a Population of ≥2 Million:
       $35,000,000
      Local Health Departments Serving a City with a Population of 400,000 or more, but less
       than 2 Million: $9,000,000
      US Territories and Freely Associated States: $10,000,000
10. Award Floor:
$ 500,000
Per Project Period
Funding will vary by jurisdiction category. Award Floor by applicant type:
      State Health Department: $17,000,000
      Local Health Departments Serving a County or City with a Population of ≥2 Million:
       $17,000,000
      Local Health Departments Serving a City with a Population of 400,000 or more, but less
       than 2 Million: $2,000,000
      US Territories and Freely Associated States: $500,000
11. Estimated Award Date:
June 01, 2021

12. Budget Period Length:
24 month(s)
Throughout the project period, CDC will continue the award based on the availability of funds,
the evidence of satisfactory progress by the recipient (as documented in required reports), and
the determination that continued funding is in the best interest of the federal government. The
total number of years for which federal support has been approved (project period) will be shown
in the “Notice of Award.” This information does not constitute a commitment by the federal
government to fund the entire period. The total period of performance comprises the initial
competitive segment and any subsequent non-competitive continuation award(s).


13. Direct Assistance

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Direct Assistance (DA) is not available through this NOFO.
If you are successful and receive a Notice of Award, in accepting the award, you agree that the
award and any activities thereunder are subject to all provisions of 45 CFR part 75, currently in
effect or implemented during the period of the award, other Department regulations and policies
in effect at the time of the award, and applicable statutory provisions.
C. Eligibility Information
1. Eligible Applicants
Eligibility Category:
00 (State governments)
01 (County governments)
02 (City or township governments)
04 (Special district governments)
25 (Others (see text field entitled "Additional Information on Eligibility" for clarification))
Additional Eligibility Category:
Government Organizations:
State governments or their bona fide agents (includes the District of Columbia)
Local governments or their bona fide agents
Territorial governments or their bona fide agents in the Commonwealth of Puerto Rico, the
Virgin Islands, the Commonwealth of the Northern Marianna Islands, American Samoa, Guam,
the Federated States of Micronesia, the Republic of the Marshall Islands, and the Republic of
Palau
2. Additional Information on Eligibility
Awards must be made to state, District of Columbia, local, US territorial, and/or freely
associated state health departments (or their bona fide agents). Local (health departments)
governments or their bona fide agents are eligible if they:
      Serve a county population of 2,000,000 or more; or serve a city population of 400,000 or
       more. Population for county and city jurisdictions are based on the following US Census
       2019 resources:
           City and Town Population Totals: 2010-2019 (census.gov) U.S. Census -- Annual
              Estimates of the Resident Population for Incorporated Places of 50,000 or More,
              Ranked by July 1, 2019 Population: April 1, 2010 to July 1, 2019
           County Population Totals: 2010-2019 (census.gov)- US Census – Annual
              Estimates for 2019
Bona fide agents are eligible to apply. For more information about bona fide agents, please see
the CDC webpage on Expediting the Federal Grant Process with an Administrative Partner
located at https://www.cdc.gov/publichealthgateway/grantsfunding/expediting.html#Q2



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3. Justification for Less than Maximum Competition
N/A
4. Cost Sharing or Matching
 Cost Sharing / Matching Requirement:
No
Cost sharing or matching funds are not required for this program. Although no statutory
matching requirement for this NOFO exists, leveraging other resources and related ongoing
efforts to promote sustainability is strongly encouraged.
5. Maintenance of Effort
Maintenance of effort is not required for this program.
D. Application and Submission Information
1. Required Registrations
An organization must be registered at the three following locations before it can submit an
application for funding at www.grants.gov.

a. Data Universal Numbering System:
All applicant organizations must obtain a Data Universal Numbering System (DUNS) number. A
DUNS number is a unique nine-digit identification number provided by Dun & Bradstreet
(D&B). It will be used as the Universal Identifier when applying for federal awards or
cooperative agreements.
The applicant organization may request a DUNS number by telephone at 1-866-705-5711 (toll
free) or internet at http:// fedgov.dnb. com/ webform/ displayHomePage.do. The DUNS number
will be provided at no charge.
If funds are awarded to an applicant organization that includes sub-recipients, those sub-
recipients must provide their DUNS numbers before accepting any funds.

b. System for Award Management (SAM):
The SAM is the primary registrant database for the federal government and the repository into
which an entity must submit information required to conduct business as a recipient. All
applicant organizations must register with SAM, and will be assigned a SAM number. All
information relevant to the SAM number must be current at all times during which the applicant
has an application under consideration for funding by CDC. If an award is made, the SAM
information must be maintained until a final financial report is submitted or the final payment is
received, whichever is later. The SAM registration process can require 10 or more business days,
and registration must be renewed annually. Additional information about registration procedures
may be found at https://www.sam.gov/SAM/.

c. Grants.gov:
The first step in submitting an application online is registering your organization
at www.grants.gov, the official HHS E-grant Web site. Registration information is located at the
"Applicant Registration" option at www.grants.gov.
All applicant organizations must register at www.grants.gov. The one-time registration process
usually takes not more than five days to complete. Applicants should start the registration

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process as early as possible.

Step
       System       Requirements                      Duration                  Follow Up

                    1. Click on http://
                                                                                To confirm that
                    fedgov.dnb.com/ webform
                                                                                you have been
                    2. Select Begin DUNS                                        issued a new
       Data
                    search/request process                                      DUNS number
       Universal
                    3. Select your country or territory                         check online at
1      Number                                           1-2 Business Days
                    and follow the instructions to                              (http://
       System
                    obtain your DUNS 9-digit #                                  fedgov.dnb.com/
       (DUNS)
                    4. Request appropriate staff                                webform) or
                    member(s) to obtain DUNS                                    call 1-866-705-
                    number, verify & update                                     5711
                    information under DUNS number
       System for   1. Retrieve organizations DUNS
       Award        number
                                                                               For SAM
       Management
                    2. Go                                                      Customer Service
       (SAM)                                           3-5 Business Days but
                    to https://www.sam.gov/SAM/ and                            Contact https://fs
2      formerly                                        up to 2 weeks and must
                    designate an E-Biz POC (note                               d.gov/ fsd-gov/
       Central                                         be renewed once a year
                    CCR username will not work in                              home.do Calls: 86
       Contractor
                    SAM and you will need to have                              6-606-8220
       Registration
                    an active SAM account before you
       (CCR)
                    can register on grants.gov)
                    1. Set up an individual account in
                    Grants.gov using organization new
                    DUNS number to become an
                    authorized                         Same day but can take 8
                    organization representative        weeks to be fully       Register early!
                    (AOR)                              registered and approved Log into
                                                       in the system (note,    grants.gov and
                    2. Once the account is set up the
3      Grants.gov                                      applicants MUST         check AOR status
                    E-BIZ POC will be notified via
                                                       obtain a DUNS number until it shows you
                    email
                                                       and SAM account         have been
                    3. Log into grants.gov using the
                                                       before applying on      approved
                    password the E-BIZ POC received
                                                       grants.gov)
                    and create new password
                    4. This authorizes the AOR to
                    submit applications on behalf of
                    the organization
2. Request Application Package
Applicants may access the application package at www.grants.gov.



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 3. Application Package
Applicants must download the SF-424, Application for Federal Assistance, package associated
with this notice of funding opportunity at www.grants.gov.
 4. Submission Dates and Times
If the application is not submitted by the deadline published in the NOFO, it will not be
processed. Office of Grants Services (OGS) personnel will notify the applicant that their
application did not meet the deadline. The applicant must receive pre-approval to submit a paper
application (see Other Submission Requirements section for additional details). If the applicant is
authorized to submit a paper application, it must be received by the deadline provided by OGS.
a. Letter of Intent Deadline (must be emailed or postmarked by)
Due Date for Letter Of Intent 03/26/2021
03/26/2021
b. Application Deadline
05/03/2021
11:59 pm U.S. Eastern Standard Time, at www.grants.gov. If Grants.gov is inoperable and
cannot receive applications, and circumstances preclude advance notification of an extension,
then applications must be submitted by the first business day on which grants.gov operations
resume.
Due Date for Information Conference Call
CDC will host two informational conference calls for potential applicants:

Date: 03/30/2021

Times: 3:00pm to 4:00pm Eastern Standard Time
and
6:00pm to 7:00pm Eastern Standard Time

Meeting Details:
Join ZoomGov Meeting
https://cdc.zoomgov.com/j/16040976381?pwd=NmNjdFcrQlFVSjVPZ25nR0dHay9zdz09

Meeting ID: 160 4097 6381
Passcode: OT21-2103
One tap mobile
+16692545252,,16040976381#,,,,,,0#,,708148093# US (San Jose)
+16468287666,,16040976381#,,,,,,0#,,708148093# US (New York)

Dial by your location
     +1 669 254 5252 US (San Jose)
     +1 646 828 7666 US (New York)
     +1 669 216 1590 US (San Jose)
     +1 551 285 1373 US
Meeting ID: 160 4097 6381

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Passcode: 708148093
Find your local number: https://cdc.zoomgov.com/u/advmPjIAqk

Join by SIP
16040976381@sip.zoomgov.com

Join by H.323
161.199.138.10 (US West)
161.199.136.10 (US East)
Meeting ID: 160 4097 6381
Passcode: 708148093
 5. CDC Assurances and Certifications
All applicants are required to sign and submit “Assurances and Certifications” documents
indicated at http://wwwn.cdc.gov/ grantassurances/ (S(mj444mxct51lnrv1hljjjmaa))
/Homepage.aspx.
Applicants may follow either of the following processes:
      Complete the applicable assurances and certifications with each application submission,
       name the file “Assurances and Certifications” and upload it as a PDF file with
       at www.grants.gov
      Complete the applicable assurances and certifications and submit them directly to CDC
       on an annual basis at http://wwwn.cdc.gov/ grantassurances/
       (S(mj444mxct51lnrv1hljjjmaa))/ Homepage.aspx
Assurances and certifications submitted directly to CDC will be kept on file for one year and will
apply to all applications submitted to CDC by the applicant within one year of the submission
date.

Risk Assessment Questionnaire Requirement
CDC is required to conduct pre-award risk assessments to determine the risk an applicant poses
to meeting federal programmatic and administrative requirements by taking into account issues
such as financial instability, insufficient management systems, non-compliance with award
conditions, the charging of unallowable costs, and inexperience. The risk assessment will include
an evaluation of the applicant’s CDC Risk Questionnaire, located
at https://www.cdc.gov/grants/documents/PPMR-G-CDC-Risk-Questionnaire.pdf, as well as a
review of the applicant’s history in all available systems; including OMB-designated repositories
of government-wide eligibility and financial integrity systems (see 45 CFR 75.205(a)), and other
sources of historical information. These systems include, but are not limited to: FAPIIS
(https://www.fapiis.gov/), including past performance on federal contracts as per Duncan Hunter
National Defense Authorization Act of 2009; Do Not Pay list; and System for Award
Management (SAM) exclusions.

CDC requires all applicants to complete the Risk Questionnaire, OMB Control Number 0920-
1132 annually. This questionnaire, which is located
at https://www.cdc.gov/grants/documents/PPMR-G-CDC-Risk-Questionnaire.pdf, along with

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supporting documentation must be submitted with your application by the closing date of the
Notice of Funding Opportunity Announcement. If your organization has completed CDC’s Risk
Questionnaire within the past 12 months of the closing date of this NOFO, then you must submit
a copy of that questionnaire, or submit a letter signed by the authorized organization
representative to include the original submission date, organization’s EIN and DUNS.
When uploading supporting documentation for the Risk Questionnaire into this application
package, clearly label the documents for easy identification of the type of documentation. For
example, a copy of Procurement policy submitted in response to the questionnaire may be
labeled using the following format: Risk Questionnaire Supporting Documents _ Procurement
Policy.

Duplication of Efforts
Applicants are responsible for reporting if this application will result in programmatic,
budgetary, or commitment overlap with another application or award (i.e. grant, cooperative
agreement, or contract) submitted to another funding source in the same fiscal
year. Programmatic overlap occurs when (1) substantially the same project is proposed in more
than one application or is submitted to two or more funding sources for review and funding
consideration or (2) a specific objective and the project design for accomplishing the objective
are the same or closely related in two or more applications or awards, regardless of the funding
source. Budgetary overlap occurs when duplicate or equivalent budgetary items (e.g.,
equipment, salaries) are requested in an application but already are provided by another
source. Commitment overlap occurs when an individual’s time commitment exceeds 100
percent, whether or not salary support is requested in the application. Overlap, whether
programmatic, budgetary, or commitment of an individual’s effort greater than 100 percent, is
not permitted. Any overlap will be resolved by the CDC with the applicant and the PD/PI prior
to award.
Report Submission: The applicant must upload the report in Grants.gov under “Other
Attachment Forms.” The document should be labeled: "Report on Programmatic, Budgetary,
and Commitment Overlap.”
6. Content and Form of Application Submission
Applicants are required to include all of the following documents with their application package
at www.grants.gov.
 7. Letter of Intent
Letters of Intent (LOI) are not required but are requested as part of the application for this
NOFO. The purpose of an LOI is to allow CDC program staff to estimate the number of and plan
for the review of submitted applications.

Letters of Intent should be submitted via email to OT21-2103Support@cdc.gov no later than
March 26, 2021.




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 8. Table of Contents
(There is no page limit. The table of contents is not included in the project narrative page
limit.): The applicant must provide, as a separate attachment, the “Table of Contents” for the
entire submission package.
Provide a detailed table of contents for the entire submission package that includes all of the
documents in the application and headings in the "Project Narrative" section. Name the file
"Table of Contents" and upload it as a PDF file under "Other Attachment Forms"
at www.grants.gov.
 9. Project Abstract Summary
A project abstract is included on the mandatory documents list and must be submitted
at www.grants.gov. The project abstract must be a self-contained, brief summary of the proposed
project including the purpose and outcomes. This summary must not include any proprietary or
confidential information. Applicants must enter the summary in the "Project Abstract Summary"
text box at www.grants.gov.
 10. Project Narrative
(Unless specified in the "H. Other Information" section, maximum of 20 pages, single spaced, 12
point font, 1-inch margins, number all pages. This includes the work plan. Content beyond the
specified page number will not be reviewed.)
Applicants must submit a Project Narrative with the application forms. Applicants must name
this file “Project Narrative” and upload it at www.grants.gov. The Project Narrative must
include all of the following headings (including subheadings): Background, Approach,
Applicant Evaluation and Performance Measurement Plan, Organizational Capacity of
Applicants to Implement the Approach, and Work Plan. The Project Narrative must be succinct,
self-explanatory, and in the order outlined in this section. It must address outcomes and activities
to be conducted over the entire period of performance as identified in the CDC Project
Description section. Applicants should use the federal plain language guidelines and Clear
Communication Index to respond to this Notice of Funding Opportunity. Note that recipients
should also use these tools when creating public communication materials supported by this
NOFO. Failure to follow the guidance and format may negatively impact scoring of the
application.
a. Background
Applicants must provide a description of relevant background information that includes the
context of the problem (See CDC Background).
 b. Approach
i. Purpose
Applicants must describe in 2-3 sentences specifically how their application will address the
public health problem as described in the CDC Background section.

ii. Outcomes



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Applicants must clearly identify the outcomes they expect to achieve by the end of the project
period, as identified in the logic model in the Approach section of the CDC Project Description.
Outcomes are the results that the program intends to achieve and usually indicate the intended
direction of change (e.g., increase, decrease).

iii. Strategies and Activities
Applicants must provide a clear and concise description of the strategies and activities they will
use to achieve the period of performance outcomes. Applicants must select existing evidence-
based strategies that meet their needs, or describe in the Applicant Evaluation and Performance
Measurement Plan how these strategies will be evaluated over the course of the project period.
See the Strategies and Activities section of the CDC Project Description.

1. Collaborations
Applicants must describe how they will collaborate with programs and organizations either
internal or external to CDC. Applicants must address the Collaboration requirements as
described in the CDC Project Description.
2. Target Populations and Health Disparities
Applicants must describe the specific target population(s) in their jurisdiction and explain how
such a target will achieve the goals of the award and/or alleviate health disparities. The
applicants must also address how they will include specific populations that can benefit from the
program that is described in the Approach section. Applicants must address the Target
Populations and Health Disparities requirements as described in the CDC Project Description.
c. Applicant Evaluation and Performance Measurement Plan
Applicants must provide an evaluation and performance measurement plan that demonstrates
how the recipient will fulfill the requirements described in the CDC Evaluation and Performance
Measurement and Project Description sections of this NOFO. At a minimum, the plan must
describe:
      How applicant will collect the performance measures, respond to the evaluation
       questions, and use evaluation findings for continuous program quality improvement. The
       Paperwork Reduction Act of 1995 (PRA): Applicants are advised that any activities
       involving information collections (e.g., surveys, questionnaires, applications, audits, data
       requests, reporting, recordkeeping and disclosure requirements) from 10 or more
       individuals or non-Federal entities, including State and local governmental agencies, and
       funded or sponsored by the Federal Government are subject to review and approval by
       the Office of Management and Budget. For further information about CDC’s
       requirements under PRA see http://www.hhs.gov/ ocio/policy/collection/.
      How key program partners will participate in the evaluation and performance
       measurement planning processes.
      Available data sources, feasibility of collecting appropriate evaluation and performance
       data, data management plan (DMP), and other relevant data information (e.g.,
       performance measures proposed by the applicant).

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Where the applicant chooses to, or is expected to, take on specific evaluation studies, they should
be directed to:
      Describe the type of evaluations (i.e., process, outcome, or both).
      Describe key evaluation questions to be addressed by these evaluations.
      Describe other information (e.g., measures, data sources).
Recipients will be required to submit a more detailed Evaluation and Performance Measurement
plan (including the DMP elements) within the first 6 months of award, as described in the
Reporting Section of this NOFO.
d. Organizational Capacity of Applicants to Implement the Approach
Applicants must address the organizational capacity requirements as described in the CDC
Project Description.
 11. Work Plan
(Included in the Project Narrative’s page limit)
Applicants must prepare a work plan consistent with the CDC Project Description Work Plan
section. The work plan integrates and delineates more specifically how the recipient plans to
carry out achieving the period of performance outcomes, strategies and activities, evaluation and
performance measurement.
 12. Budget Narrative
Applicants must submit an itemized budget narrative. When developing the budget narrative,
applicants must consider whether the proposed budget is reasonable and consistent with the
purpose, outcomes, and program strategy outlined in the project narrative. The budget must
include:
      Salaries and wages
      Fringe benefits
      Consultant costs
      Equipment
      Supplies
      Travel
      Other categories
      Contractual costs
      Total Direct costs
      Total Indirect costs
Indirect costs could include the cost of collecting, managing, sharing and preserving data.



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Indirect costs on grants awarded to foreign organizations and foreign public entities and
performed fully outside of the territorial limits of the U.S. may be paid to support the costs of
compliance with federal requirements at a fixed rate of eight percent of MTDC exclusive of
tuition and related fees, direct expenditures for equipment, and subawards in excess of
$25,000. Negotiated indirect costs may be paid to the American University, Beirut, and the
World Health Organization.
If applicable and consistent with the cited statutory authority for this announcement, applicant
entities may use funds for activities as they relate to the intent of this NOFO to meet national
standards or seek health department accreditation through the Public Health Accreditation Board
(see: http://www.phaboard.org). Applicant entities to whom this provision applies include state,
local, territorial governments (including the District of Columbia, the Commonwealth of Puerto
Rico, the Virgin Islands, the Commonwealth of the Northern Marianna Islands, American
Samoa, Guam, the Federated States of Micronesia, the Republic of the Marshall Islands, and the
Republic of Palau), or their bona fide agents, political subdivisions of states (in consultation with
states), federally recognized or state-recognized American Indian or Alaska Native tribal
governments, and American Indian or Alaska Native tribally designated organizations. Activities
include those that enable a public health organization to deliver public health services such as
activities that ensure a capable and qualified workforce, up-to-date information systems, and the
capability to assess and respond to public health needs. Use of these funds must focus on
achieving a minimum of one national standard that supports the intent of the NOFO. Proposed
activities must be included in the budget narrative and must indicate which standards will be
addressed.
Vital records data, including births and deaths, are used to inform public health program and
policy decisions. If applicable and consistent with the cited statutory authority for this NOFO,
applicant entities are encouraged to collaborate with and support their jurisdiction’s vital records
office (VRO) to improve vital records data timeliness, quality and access, and to advance public
health goals. Recipients may, for example, use funds to support efforts to build VRO capacity
through partnerships; provide technical and/or financial assistance to improve vital records
timeliness, quality or access; or support vital records improvement efforts, as approved by CDC.
Applicants must name this file “Budget Narrative” and upload it as a PDF file
at www.grants.gov. If requesting indirect costs in the budget, a copy of the indirect cost-rate
agreement is required. If the indirect costs are requested, include a copy of the current negotiated
federal indirect cost rate agreement or a cost allocation plan approval letter for those Recipients
under such a plan. Applicants must name this file “Indirect Cost Rate” and upload it
at www.grants.gov.
 13. Funds Tracking
Proper fiscal oversight is critical to maintaining public trust in the stewardship of federal funds.
Effective October 1, 2013, a new HHS policy on subaccounts requires the CDC to set up
payment subaccounts within the Payment Management System (PMS) for all new grant awards.
Funds awarded in support of approved activities and drawdown instructions will be identified on
the Notice of Award in a newly established PMS subaccount (P subaccount). Recipients will be
required to draw down funds from award-specific accounts in the PMS. Ultimately, the
subaccounts will provide recipients and CDC a more detailed and precise understanding of
financial transactions. The successful applicant will be required to track funds by P-accounts/sub

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accounts for each project/cooperative agreement awarded. Applicants are encouraged to
demonstrate a record of fiscal responsibility and the ability to provide sufficient and effective
oversight. Financial management systems must meet the requirements as described 45 CFR 75
which include, but are not limited to, the following:
      Records that identify adequately the source and application of funds for federally-funded
       activities.
      Effective control over, and accountability for, all funds, property, and other assets.
      Comparison of expenditures with budget amounts for each Federal award.
      Written procedures to implement payment requirements.
      Written procedures for determining cost allowability.
      Written procedures for financial reporting and monitoring.
 14. Pilot Program for Enhancement of Employee Whistleblower Protections
Pilot Program for Enhancement of Employee Whistleblower Protections: All applicants will be
subject to a term and condition that applies the terms of 48 Code of Federal Regulations
(CFR) section 3.908 to the award and requires that recipients inform their employees in writing
(in the predominant native language of the workforce) of employee whistleblower rights and
protections under 41 U.S.C. 4712.
 15. Copyright Interests Provisions
This provision is intended to ensure that the public has access to the results and accomplishments
of public health activities funded by CDC. Pursuant to applicable grant regulations and CDC’s
Public Access Policy, Recipient agrees to submit into the National Institutes of Health (NIH)
Manuscript Submission (NIHMS) system an electronic version of the final, peer-reviewed
manuscript of any such work developed under this award upon acceptance for publication, to be
made publicly available no later than 12 months after the official date of publication. Also at the
time of submission, Recipient and/or the Recipient’s submitting author must specify the date the
final manuscript will be publicly accessible through PubMed Central (PMC). Recipient and/or
Recipient’s submitting author must also post the manuscript through PMC within twelve (12)
months of the publisher's official date of final publication; however the author is strongly
encouraged to make the subject manuscript available as soon as possible. The recipient must
obtain prior approval from the CDC for any exception to this provision.


The author's final, peer-reviewed manuscript is defined as the final version accepted for journal
publication, and includes all modifications from the publishing peer review process, and all
graphics and supplemental material associated with the article. Recipient and its submitting
authors working under this award are responsible for ensuring that any publishing or copyright
agreements concerning submitted articles reserve adequate right to fully comply with this
provision and the license reserved by CDC. The manuscript will be hosted in both PMC and the
CDC Stacks institutional repository system. In progress reports for this award, recipient must
identify publications subject to the CDC Public Access Policy by using the applicable NIHMS


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identification number for up to three (3) months after the publication date and the PubMed
Central identification number (PMCID) thereafter.
16. Funding Restrictions
Restrictions that must be considered while planning the programs and writing the budget are:
      Recipients may not use funds for research.
      Recipients may not use funds for clinical care except as allowed by law.
      Recipients may use funds only for reasonable program purposes, including personnel,
       travel, supplies, and services.
      Generally, recipients may not use funds to purchase furniture or equipment. Any such
       proposed spending must be clearly identified in the budget.
      Reimbursement of pre-award costs generally is not allowed, unless the CDC provides
       written approval to the recipient.
      Other than for normal and recognized executive-legislative relationships, no funds may
       be used for:
           o publicity or propaganda purposes, for the preparation, distribution, or use of any
             material designed to support or defeat the enactment of legislation before any
             legislative body
           o the salary or expenses of any grant or contract recipient, or agent acting for such
             recipient, related to any activity designed to influence the enactment of
             legislation, appropriations, regulation, administrative action, or Executive order
             proposed or pending before any legislative body
      See Additional Requirement (AR) 12 for detailed guidance on this prohibition
       and additional guidance on lobbying for CDC recipients.
      The direct and primary recipient in a cooperative agreement program must perform a
       substantial role in carrying out project outcomes and not merely serve as a conduit for an
       award to another party or provider who is ineligible.
Coronavirus Disease 2019 (COVID-19) Funds:

      A recipient of a grant or cooperative agreement awarded by the Department of Health and
       Human Services (HHS) with funds made available under the Coronavirus Preparedness
       and Response Supplemental Appropriations Act, 2020 (P.L. 116-123); the Coronavirus
       Aid, Relief, and Economic Security Act, 2020 (the “CARES Act”) (P.L. 116-136); the
       Paycheck Protection Program and Health Care Enhancement Act (P.L. 116-139); and/or
       H.R. 133 - Consolidated Appropriations Act, 2021, Division M – Coronavirus Response
       and Relief Supplemental Appropriations Act, 2021, agrees, as applicable to the award, to:
       1) comply with existing and/or future directives and guidance from the Secretary
       regarding control of the spread of COVID-19; 2) in consultation and coordination with
       HHS, provide, commensurate with the condition of the individual, COVID-19 patient
       care regardless of the individual’s home jurisdiction and/or appropriate public health

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       measures (e.g., social distancing, home isolation); and 3) assist the United States
       Government in the implementation and enforcement of federal orders related to
       quarantine and isolation.
      In addition, to the extent applicable, Recipient will comply with Section 18115 of the
       CARES Act, with respect to the reporting to the HHS Secretary of results of tests
       intended to detect SARS–CoV–2 or to diagnose a possible case of COVID–19. Such
       reporting shall be in accordance with guidance and direction from HHS and/or
       CDC. HHS laboratory reporting guidance is posted
       at: https://www.hhs.gov/sites/default/files/covid-19-laboratory-data-reporting-
       guidance.pdf.
      Further, consistent with the full scope of applicable grant regulations (45 C.F.R. 75.322),
       the purpose of this award, and the underlying funding, the recipient is expected to provide
       to CDC copies of and/or access to COVID-19 data collected and evaluations conducted
       with these funds, including but not limited to data related to COVID-19 testing. CDC will
       specify in further guidance and directives what is encompassed by this requirement.
      To achieve the public health objectives of ensuring the health, safety, and welfare of all
       Americans, Recipient must distribute or administer vaccine without discriminating on
       non-public-health grounds within a prioritized group.


 18. Data Management Plan
As identified in the Evaluation and Performance Measurement section, applications involving
data collection or generation must include a Data Management Plan (DMP) as part of their
evaluation and performance measurement plan unless CDC has stated that CDC will take on the
responsibility of creating the DMP. The DMP describes plans for assurance of the quality of the
public health data through the data's lifecycle and plans to deposit the data in a repository to
preserve and to make the data accessible in a timely manner. See web link for additional
information:
https://www.cdc.gov/grants/additionalrequirements/ar-25.html
18. Other Submission Requirements
a. Electronic Submission:
Applications must be submitted electronically by using the forms and instructions posted for this
notice of funding opportunity at www.grants.gov. Applicants can complete the application
package using Workspace, which allows forms to be filled out online or offline. All application
attachments must be submitted using a PDF file format. Instructions and training for using
Workspace can be found at www.grants.gov under the "Workspace Overview" option.

b. Tracking Number: Applications submitted through www.grants.gov are time/date stamped
electronically and assigned a tracking number. The applicant’s Authorized Organization
Representative (AOR) will be sent an e-mail notice of receipt when www.grants.gov receives the
application. The tracking number documents that the application has been submitted and initiates
the required electronic validation process before the application is made available to CDC.

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c. Validation Process: Application submission is not concluded until the validation process is
completed successfully. After the application package is submitted, the applicant will receive a
“submission receipt” e-mail generated by www.grants.gov. A second e-mail message to
applicants will then be generated by www.grants.gov that will either validate or reject the
submitted application package. This validation process may take as long as two business days.
Applicants are strongly encouraged to check the status of their application to ensure that
submission of their package has been completed and no submission errors have occurred.
Applicants also are strongly encouraged to allocate ample time for filing to guarantee that their
application can be submitted and validated by the deadline published in the NOFO. Non-
validated applications will not be accepted after the published application deadline date.
If you do not receive a “validation” e-mail within two business days of application submission,
please contact www.grants.gov. For instructions on how to track your application, refer to the e-
mail message generated at the time of application submission or the Grants.gov Online User
Guide.
https:// www.grants.gov/help/html/help/index.htm? callingApp=custom#t=
Get_Started%2FGet_Started. htm
d. Technical Difficulties: If technical difficulties are encountered at www.grants.gov, applicants
should contact Customer Service at www.grants.gov. The www.grants.gov Contact Center is
available 24 hours a day, 7 days a week, except federal holidays. The Contact Center is available
by phone at 1-800-518-4726 or by e-mail at support@grants.gov. Application submissions sent
by e-mail or fax, or on CDs or thumb drives will not be accepted. Please note that
www.grants.gov is managed by HHS.
e. Paper Submission: If technical difficulties are encountered at www.grants.gov, applicants
should call the www.grants.gov Contact Center at 1-800-518-4726 or e-mail them
at support@grants.gov for assistance. After consulting with the Contact Center, if the technical
difficulties remain unresolved and electronic submission is not possible, applicants may e-mail
CDC GMO/GMS, before the deadline, and request permission to submit a paper application.
Such requests are handled on a case-by-case basis.
An applicant’s request for permission to submit a paper application must:
   1. Include the www.grants.gov case number assigned to the inquiry
   2. Describe the difficulties that prevent electronic submission and the efforts taken with
      the www.grants.gov Contact Center to submit electronically; and
   3. Be received via e-mail to the GMS/GMO listed below at least three calendar days before
      the application deadline. Paper applications submitted without prior approval will not be
      considered.

       If a paper application is authorized, OGS will advise the applicant of specific instructions
       for submitting the application (e.g., original and two hard copies of the application by
       U.S. mail or express delivery service).
E. Review and Selection Process



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1. Review and Selection Process: Applications will be reviewed in three phases
a. Phase 1 Review
All applications will be initially reviewed for eligibility and completeness by CDC Office of
Grants Services. Complete applications will be reviewed for responsiveness by the Grants
Management Officials and Program Officials. Non-responsive applications will not advance to
Phase II review. Applicants will be notified that their applications did not meet eligibility and/or
published submission requirements.


b. Phase II Review
A review panel will evaluate complete, eligible applications in accordance with the criteria
below.

i. Approach
ii. Evaluation and Performance Measurement
iii. Applicant’s Organizational Capacity to Implement the Approach

Not more than thirty days after the Phase II review is completed, applicants will be notified
electronically if their application does not meet eligibility or published submission requirements
i. Approach                                                                    Maximum Points: 0
ii. Evaluation and Performance Measurement                                     Maximum Points: 0
iii. Applicant's Organizational Capacity to Implement the
                                                                               Maximum Points: 0
Approach
Budget                                                                         Maximum Points: 0
i. Approach                                                                    Maximum Points: 0
ii. Evaluation and Performance Measurement                                     Maximum Points: 0
iii. Applicant's Organizational Capacity to Implement the
                                                                               Maximum Points: 0
Approach
Budget                                                                         Maximum Points: 0

c. Phase III Review
This is a noncompetitive NOFO. Applications will be reviewed for technical merit without
scoring.
Review of risk posed by applicants.
Prior to making a Federal award, CDC is required by 31 U.S.C. 3321 and 41 U.S.C. 2313 to
review information available through any OMB-designated repositories of government-wide
eligibility qualification or financial integrity information as appropriate. See also suspension and
debarment requirements at 2 CFR parts 180 and 376.
In accordance 41 U.S.C. 2313, CDC is required to review the non-public segment of the OMB-
designated integrity and performance system accessible through SAM (currently the
Federal Recipient Performance and Integrity Information System (FAPIIS)) prior to making a
Federal award where the Federal share is expected to exceed the simplified acquisition threshold,

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defined in 41 U.S.C. 134, over the period of performance. At a minimum, the information in the
system for a prior Federal award recipient must demonstrate a satisfactory record of executing
programs or activities under Federal grants, cooperative agreements, or procurement awards; and
integrity and business ethics. CDC may make a Federal award to a recipient who does not fully
meet these standards, if it is determined that the information is not relevant to the current Federal
award under consideration or there are specific conditions that can appropriately mitigate the
effects of the non-Federal entity's risk in accordance with 45 CFR §75.207.
CDC’s framework for evaluating the risks posed by an applicant may incorporate results of the
evaluation of the applicant's eligibility or the quality of its application. If it is determined that a
Federal award will be made, special conditions that correspond to the degree of risk assessed
may be applied to the Federal award. The evaluation criteria is described in this Notice of
Funding Opportunity.
In evaluating risks posed by applicants, CDC will use a risk-based approach and may consider
any items such as the following:
(1) Financial stability;
(2) Quality of management systems and ability to meet the management standards prescribed in
this part;
(3) History of performance. The applicant's record in managing Federal awards, if it is a prior
recipient of Federal awards, including timeliness of compliance with applicable reporting
requirements, conformance to the terms and conditions of previous Federal awards, and if
applicable, the extent to which any previously awarded amounts will be expended prior to future
awards;
(4) Reports and findings from audits performed under subpart F 45 CFR 75 or the reports and
findings of any other available audits; and
(5) The applicant's ability to effectively implement statutory, regulatory, or other requirements
imposed on non-Federal entities.
CDC must comply with the guidelines on government-wide suspension and debarment in 2 CFR
part 180, and require non-Federal entities to comply with these provisions. These provisions
restrict Federal awards, subawards and contracts with certain parties that are debarred, suspended
or otherwise excluded from or ineligible for participation in Federal programs or activities.
2. Announcement and Anticipated Award Dates
The anticipated posting date is March 17, 2021, on www.grants.gov. Applicants will have up to
45 days, or May 3, 2021, to respond. Applicants are encouraged to apply early. The anticipated
award date is approximately 30 calendar days after the end of the application period, or June 1,
2021.
 F. Award Administration Information
 1. Award Notices
Recipients will receive an electronic copy of the Notice of Award (NOA) from CDC OGS. The
NOA shall be the only binding, authorizing document between the recipient and CDC. The
NOA will be signed by an authorized GMO and emailed to the Recipient Business Officer listed
in application and the Program Director.
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Any applicant awarded funds in response to this Notice of Funding Opportunity will be subject
to the DUNS, SAM Registration, and Federal Funding Accountability And Transparency Act Of
2006 (FFATA) requirements.

Unsuccessful applicants will receive notification of these results by e-mail with delivery receipt
or by U.S. mail.
2. Administrative and National Policy Requirements
The following Administrative Requirements (AR) apply to this NOFO:
      AR-7: Executive Order 12372 Review
      AR-8: Public Health System Reporting Requirements
      AR-9: Paperwork Reduction Act Requirements
      AR-10: Smoke-Free Workplace Requirements
      AR-11: Healthy People 2030
      AR-12: Lobbying Restrictions
      AR-13: Prohibition on Use of CDC Funds for Certain Gun Control Activities
      AR-8: Public Health System Reporting Requirements
      AR-15: Proof of Non-profit Status
      AR-23: Compliance with 45 CFR Part 87
      AR-14: Accounting System Requirements
      AR-16: Security Clearance Requirement
      AR-21: Small, Minority, And Women-owned Business
      AR-24: Health Insurance Portability and Accountability Act Requirements
      AR-25: Data Management and Access
      AR-26: National Historic Preservation Act of 1966
      AR-29: Compliance with EO13513, “Federal Leadership on Reducing Text Messaging
       while Driving”, October 1, 2009
      AR-30: Information Letter 10-006, - Compliance with Section 508 of the Rehabilitation
       Act of 1973
      AR-32: Enacted General Provisions
      AR-34: Language Access for Persons with Limited English Proficiency
      AR-37: Prohibition on certain telecommunications and video surveillance services or
       equipment for all awards issued on or after August 13, 2020

Recipients are also expected to adhere to administrative requirements relating to
nondiscrimination contained in Standard Form 424B (Rev. 7-97): Assurances - Non-
Construction Programs, prescribed by OMB Circular A-102.
The full text of the Uniform Administrative Requirements, Cost Principles, and Audit
Requirements for HHS Awards, 45 CFR 75, can be found at: https://www.ecfr.gov/cgi-bin/text-
idx?node=pt45.1.75


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 3. Reporting
Reporting provides continuous program monitoring and identifies successes and challenges
that recipients encounter throughout the project period. Also, reporting is a requirement
for recipients who want to apply for yearly continuation of funding. Reporting helps CDC and
recipients because it:
      Helps target support to recipients;
      Provides CDC with periodic data to monitor recipient progress toward meeting the Notice
       of Funding Opportunity outcomes and overall performance;
      Allows CDC to track performance measures and evaluation findings for continuous
       quality and program improvement throughout the period of performance and to determine
       applicability of evidence-based approaches to different populations, settings, and
       contexts; and
      Enables CDC to assess the overall effectiveness and influence of the NOFO.
The table below summarizes required and optional reports. All required reports must be sent
electronically to GMS listed in the “Agency Contacts” section of the NOFO copying the CDC
Project Officer.


  Report Type                When?                                                    Required?
  Expenditure Reporting      Quarterly expenditure reports are due 60 days into       Yes
                             the award and at the end of each fiscal quarter
                             thereafter through the period of performance.

  Payment Management         Quarterly reports are due 60 days into the award and     Yes
  System (PMS)               at the end of each fiscal quarter thereafter through
  Reporting                  the period of performance.

  Progress Reporting         Quarterly progress reports are due 6o days into the      Yes
                             award and at the end of each fiscal quarter thereafter
                             through the period of performance.

  Federal Financial          Due 90 days after the end of the budget period           Yes
  Reporting
  Forms

  Final Performance and      Due 90 days after end of period of performance           Yes
  Financial Report



  There may be flexibility in reporting deadlines. CDC will communicate updates or revisions
  to reporting requirements as appropriate.

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  Quarterly expenditure and progress reports will be submitted via the Research Electronic
  Data Capture, or otherwise known as REDCap. CDC will provide training and technical
  assistance for recipients on REDCap post-award.

a. Recipient Evaluation and Performance Measurement Plan (required)
With support from CDC, recipients must elaborate on their initial applicant evaluation and
performance measurement plan. This plan must be no more than 20 pages; recipients must
submit the plan 6 months into the award. HHS/CDC will review and approve the recipient’s
monitoring and evaluation plan to ensure that it is appropriate for the activities to be undertaken
as part of the agreement, for compliance with the monitoring and evaluation guidance established
by HHS/CDC, or other guidance otherwise applicable to this Agreement.

Recipient Evaluation and Performance Measurement Plan (required): This plan should provide
additional detail on the following:

Performance Measurement

• Performance measures and targets
• The frequency that performance data are to be collected.
• How performance data will be reported.
• How quality of performance data will be assured.
• How performance measurement will yield findings to demonstrate progress towards
achieving NOFO goals (e.g., reaching target populations or achieving expected outcomes).
• Dissemination channels and audiences.
• Other information requested as determined by the CDC program.

Evaluation

• The types of evaluations to be conducted (e.g. process or outcome evaluations).
• The frequency that evaluations will be conducted.
• How evaluation reports will be published on a publically available website.
• How evaluation findings will be used to ensure continuous quality and program improvement.
• How evaluation will yield findings to demonstrate the value of the NOFO (e.g., effect on
improving public health outcomes, effectiveness of NOFO, cost-effectiveness or cost-benefit).
• Dissemination channels and audiences.

HHS/CDC or its designee will also undertake monitoring and evaluation of the defined activities
within the agreement. The recipient must ensure reasonable access by HHS/CDC or its designee
to all necessary sites, documentation, individuals and information to monitor, evaluate and verify
the appropriate implementation the activities and use of HHS/CDC funding under this
Agreement.
b. Annual Performance Report (APR) (required)


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The recipient must submit the APR via www.Grantsolutions.gov no later than 120 days prior to
the end of the budget period. This report must not exceed 45 pages excluding administrative
reporting. Attachments are not allowed, but web links are allowed.
This report must include the following:
      Performance Measures: Recipients must report on performance measures for each
       budget period and update measures, if needed.
      Evaluation Results: Recipients must report evaluation results for the work completed to
       date (including findings from process or outcome evaluations).
      Work Plan: Recipients must update work plan each budget period to reflect any changes
       in period of performance outcomes, activities, timeline, etc.
      Successes
           o Recipients must report progress on completing activities and progress towards
             achieving the period of performance outcomes described in the logic model and
             work plan.
           o Recipients must describe any additional successes (e.g. identified through
             evaluation results or lessons learned) achieved in the past year.
           o Recipients must describe success stories.
      Challenges
           o Recipients must describe any challenges that hindered or might hinder their
             ability to complete the work plan activities and achieve the period of performance
             outcomes.
           o Recipients must describe any additional challenges (e.g., identified through
             evaluation results or lessons learned) encountered in the past year.
      CDC Program Support to Recipients
           o Recipients must describe how CDC could help them overcome challenges to
             complete activities in the work plan and achieving period of performance
             outcomes.
      Administrative Reporting (No page limit)
           o SF-424A Budget Information-Non-Construction Programs.
           o Budget Narrative – Must use the format outlined in "Content and Form of
             Application Submission, Budget Narrative" section.
           o Indirect Cost Rate Agreement.
The recipients must submit the Annual Performance Report via www.Grantsolutions.gov no
later than 120 days prior to the end of the budget period.
c. Performance Measure Reporting (optional)


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CDC programs may require more frequent reporting of performance measures than annually in
the APR. If this is the case, CDC programs must specify reporting frequency, data fields, and
format for recipients at the beginning of the award period.
d. Federal Financial Reporting (FFR) (required)
The annual FFR form (SF-425) is required and must be submitted 90 days after the end of the
budget period through the Payment Management System (PMS). The report must include only
those funds authorized and disbursed during the timeframe covered by the report. The final FFR
must indicate the exact balance of unobligated funds, and may not reflect any unliquidated
obligations. There must be no discrepancies between the final FFR expenditure data and the
Payment Management System’s (PMS) cash transaction data. Failure to submit the required
information by the due date may adversely affect the future funding of the project. If the
information cannot be provided by the due date, recipients are required to submit a letter of
explanation to OGS and include the date by which the Grants Officer will receive information.
e. Final Performance and Financial Report (required)
The Final Performance Report is due 90 days after the end of the period of performance. The
Final FFR is due 90 days after the end of the period of performance and must be submitted
through the Payment Management System (PMS). CDC programs must indicate that this report
should not exceed 40 pages. This report covers the entire period of performance and can include
information previously reported in APRs. At a minimum, this report must include the following:
      Performance Measures – Recipients must report final performance data for all process
       and outcome performance measures.
      Evaluation Results – Recipients must report final evaluation results for the period of
       performance for any evaluations conducted.
      Impact/Results/Success Stories – Recipients must use their performance measure results
       and their evaluation findings to describe the effects or results of the work completed over
       the project period, and can include some success stories.
      A final Data Management Plan that includes the location of the data collected during the
       funded period, for example, repository name and link data set(s)
      Additional forms as described in the Notice of Award (e.g., Equipment Inventory Report,
       Final Invention Statement).
4. Federal Funding Accountability and Transparency Act of 2006 (FFATA)
Federal Funding Accountability and Transparency Act of 2006 (FFATA), P.L. 109–282, as
amended by section 6202 of P.L. 110–252 requires full disclosure of all entities and
organizations receiving Federal funds including awards, contracts, loans, other assistance, and
payments through a single publicly accessible Web site, http://www.USASpending.gov.
Compliance with this law is primarily the responsibility of the Federal agency. However, two
elements of the law require information to be collected and reported by applicants: 1)
information on executive compensation when not already reported through the SAM, and 2)
similar information on all sub-awards/subcontracts/consortiums over $25,000.
For the full text of the requirements under the FFATA and HHS guidelines, go to:


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      https://www.gpo.gov/fdsys/pkg/PLAW-109publ282/pdf/PLAW-109publ282.pdf,
      https://www. fsrs.gov/documents /ffata_legislation_ 110_252.pdf
      http://www.hhs.gov/grants/grants/grants-policies-regulations/index.html#FFATA.
5. Reporting of Foreign Taxes (International/Foreign projects only)
A. Valued Added Tax (VAT) and Customs Duties – Customs and import duties, consular fees,
customs surtax, valued added taxes, and other related charges are hereby authorized as an
allowable cost for costs incurred for non-host governmental entities operating where no
applicable tax exemption exists. This waiver does not apply to countries where a bilateral
agreement (or similar legal document) is already in place providing applicable tax exemptions
and it is not applicable to Ministries of Health. Successful applicants will receive information on
VAT requirements via their Notice of Award.

B. The U.S. Department of State requires that agencies collect and report information on the
amount of taxes assessed, reimbursed and not reimbursed by a foreign government against
commodities financed with funds appropriated by the U.S. Department of State, Foreign
Operations and Related Programs Appropriations Act (SFOAA) (“United States foreign
assistance funds”). Outlined below are the specifics of this requirement:

1) Annual Report: The recipient must submit a report on or before November 16 for each foreign
country on the amount of foreign taxes charged, as of September 30 of the same year, by a
foreign government on commodity purchase transactions valued at 500 USD or more financed
with United States foreign assistance funds under this grant during the prior United States fiscal
year (October 1 – September 30), and the amount reimbursed and unreimbursed by the foreign
government. [Reports are required even if the recipient did not pay any taxes during the reporting
period.]

2) Quarterly Report: The recipient must quarterly submit a report on the amount of foreign taxes
charged by a foreign government on commodity purchase transactions valued at 500 USD or
more financed with United States foreign assistance funds under this grant. This report shall be
submitted no later than two weeks following the end of each quarter: April 15, July 15, October
15 and January 15.

3) Terms: For purposes of this clause:
“Commodity” means any material, article, supplies, goods, or equipment;
“Foreign government” includes any foreign government entity;
“Foreign taxes” means value-added taxes and custom duties assessed by a foreign government
on a commodity. It does not include foreign sales taxes.

4) Where: Submit the reports to the Director and Deputy Director of the CDC office in the
country(ies) in which you are carrying out the activities associated with this cooperative
agreement. In countries where there is no CDC office, send reports to VATreporting@cdc.gov.

5) Contents of Reports: The reports must contain:


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a. recipient name;
b. contact name with phone, fax, and e-mail;
c. agreement number(s) if reporting by agreement(s);
d. reporting period;
e. amount of foreign taxes assessed by each foreign government;
f. amount of any foreign taxes reimbursed by each foreign government;
g. amount of foreign taxes unreimbursed by each foreign government.

6) Subagreements. The recipient must include this reporting requirement in all applicable
subgrants and other subagreements.


6. Termination
CDC may impose other enforcement actions in accordance with 45 CFR 75.371- Remedies for
Noncompliance, as appropriate.
The Federal award may be terminated in whole or in part as follows:
(1) By the HHS awarding agency or pass-through entity, if the non-Federal entity fails to comply
with the terms and conditions of the award;
(2) By the HHS awarding agency or pass-through entity for cause;
(3) By the HHS awarding agency or pass-through entity with the consent of the non-Federal
entity, in which case the two parties must agree upon the termination conditions, including the
effective date and, in the case of partial termination, the portion to be terminated; or
(4) By the non-Federal entity upon sending to the HHS awarding agency or pass-through entity
written notification setting forth the reasons for such termination, the effective date, and, in the
case of partial termination, the portion to be terminated. However, if the HHS awarding agency
or pass-through entity determines in the case of partial termination that the reduced or modified
portion of the Federal award or subaward will not accomplish the purposes for which the Federal
award was made, the HHS awarding agency or pass-through entity may terminate the Federal
award in its entirety.
G. Agency Contacts
CDC encourages inquiries concerning this notice of funding opportunity.
Program Office Contact
For programmatic technical assistance, contact:
First Name:
Stacey
Last Name:
Mattison Jenkins
Project Officer
Department of Health and Human Services
Centers for Disease Control and Prevention
Address:

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Department of Health and Human Services
Centers for Disease Control and Prevention
Center for State, Tribal, Local, and Territorial Support
Division of Program and Partnership Services
1825 Century Center Blvd., Mailstop V18-1
Atlanta, GA 30345
Telephone:
Email:
OT21-2103Support@cdc.gov
Grants Staff Contact
For financial, awards management, or budget assistance, contact:
First Name:
Shirley
Last Name:
Byrd
Grants Management Specialist
Department of Health and Human Services
Office of Grants Services
Address:
 Department of Health and Human Services
 Centers for Disease Control and Prevention
 Office of Grants Services
 2939 Flowers Road
 Atlanta, GA 30341
Telephone:
(770) 488-2591
Email:
yuo6@cdc.gov
For assistance with submission difficulties related to www.grants.gov, contact the Contact
Center by phone at 1-800-518-4726.

Hours of Operation: 24 hours a day, 7 days a week, except on federal holidays.

CDC Telecommunications for persons with hearing loss is available at: TTY 1-888-232-6348
H. Other Information
Following is a list of acceptable attachments applicants can upload as PDF files as part of their
application at www.grants.gov. Applicants may not attach documents other than those listed; if
other documents are attached, applications will not be reviewed.
      Project Abstract
      Project Narrative


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      Budget Narrative
      CDC Assurances and Certifications
      Report on Programmatic, Budgetary and Commitment Overlap
      Table of Contents for Entire Submission
For international NOFOs:
      SF424
      SF424A
      Funding Preference Deliverables
Optional attachments, as determined by CDC programs:
References

[1] Michener L, Aguilar-Gaxiola S, Alberti PM, Castaneda MJ, Castrucci BC, Harrison LM, et
al. Engaging With Communities — Lessons (Re)Learned From COVID-19. Prev Chronic Dis
2020;17:200250. https://www.cdc.gov/pcd/issues/2020/20_0250.htm

2] US Centers for Disease Control and Prevention. COVID-19 cases, data, and surveillance:
hospitalization and death by race/ethnicity. Accessed October 12, 2020.
https://www.cdc.gov/coronavirus/2019-ncov/covid-data/investigations-discovery/hospitalization-
death-by-race-ethnicity.html

[3] Rubin-Miller L, Alban C, Artiga S, Sullivan S. COVID-19 racial disparities in testing,
infection, hospitalization, and death: analysis of Epic data. Published September 16, 2020.
Accessed October 12, 2020. https://www.kff.org/coronavirus-covid-19/issue-brief/covid-19-
racial-disparities-testing-infection-hospitalization-death-analysis-epic-patient-data/

[4] Paul R, Arif A, Pokhrel K, Ghosh S. The association of social determinants of health with
COVID-19
mortality in rural and urban counties. Journal of Rural Health. 2021;1-9.
https://doi.org/10.1111/jrh.12557


I. Glossary
Activities: The actual events or actions that take place as a part of the program.
Administrative and National Policy Requirements, Additional Requirements
(ARs): Administrative requirements found in 45 CFR Part 75 and other requirements mandated
by statute or CDC policy. All ARs are listed in the Template for CDC programs. CDC programs
must indicate which ARs are relevant to the NOFO; recipients must comply with the ARs listed
in the NOFO. To view brief descriptions of relevant provisions, see http:// www.cdc.gov/ grants/
additional requirements/ index.html. Note that 2 CFR 200 supersedes the administrative
requirements (A-110 & A-102), cost principles (A-21, A-87 & A-122) and audit requirements
(A-50, A-89 & A-133).

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Approved but Unfunded: Approved but unfunded refers to applications recommended for
approval during the objective review process; however, they were not recommended for funding
by the program office and/or the grants management office.
Assistance Listings: A government-wide compendium published by the General Services
Administration (available on-line in searchable format as well as in printable format as a .pdf
file) that describes domestic assistance programs administered by the Federal Government.
Assistance Listings Number: A unique number assigned to each program and NOFO
throughout its lifecycle that enables data and funding tracking and transparency
Award: Financial assistance that provides support or stimulation to accomplish a public purpose.
Awards include grants and other agreements (e.g., cooperative agreements) in the form of
money, or property in lieu of money, by the federal government to an eligible applicant.
Budget Period or Budget Year: The duration of each individual funding period within the
project period. Traditionally, budget periods are 12 months or 1 year.
Carryover: Unobligated federal funds remaining at the end of any budget period that, with the
approval of the GMO or under an automatic authority, may be carried over to another budget
period to cover allowable costs of that budget period either as an offset or additional
authorization. Obligated but liquidated funds are not considered carryover.
CDC Assurances and Certifications: Standard government-wide grant application forms.
Competing Continuation Award: A financial assistance mechanism that adds funds to a grant
and adds one or more budget periods to the previously established period of performance (i.e.,
extends the “life” of the award).
Continuous Quality Improvement: A system that seeks to improve the provision of services
with an emphasis on future results.
Contracts: An award instrument used to acquire (by purchase, lease, or barter) property or
services for the direct benefit or use of the Federal Government.
Cooperative Agreement: A financial assistance award with the same kind of interagency
relationship as a grant except that it provides for substantial involvement by the federal agency
funding the award. Substantial involvement means that the recipient can expect federal
programmatic collaboration or participation in carrying out the effort under the award.
Cost Sharing or Matching: Refers to program costs not borne by the Federal Government but
by the recipients. It may include the value of allowable third-party, in-kind contributions, as well
as expenditures by the recipient.
Direct Assistance: A financial assistance mechanism, which must be specifically authorized by
statute, whereby goods or services are provided to recipients in lieu of cash. DA generally
involves the assignment of federal personnel or the provision of equipment or supplies, such as
vaccines. DA is primarily used to support payroll and travel expenses of CDC employees
assigned to state, tribal, local, and territorial (STLT) health agencies that are recipients of grants
and cooperative agreements. Most legislative authorities that provide financial assistance to
STLT health agencies allow for the use of DA. http:// www.cdc.gov /grants
/additionalrequirements /index.html.

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DUNS: The Dun and Bradstreet (D&B) Data Universal Numbering System (DUNS) number is a
nine-digit number assigned by Dun and Bradstreet Information Services. When applying for
Federal awards or cooperative agreements, all applicant organizations must obtain a DUNS
number as the Universal Identifier. DUNS number assignment is free. If requested by telephone,
a DUNS number will be provided immediately at no charge. If requested via the Internet,
obtaining a DUNS number may take one to two days at no charge. If an organization does not
know its DUNS number or needs to register for one, visit Dun & Bradstreet
at http://fedgov.dnb.com/ webform/displayHomePage.do.
Evaluation (program evaluation): The systematic collection of information about the activities,
characteristics, and outcomes of programs (which may include interventions, policies, and
specific projects) to make judgments about that program, improve program effectiveness, and/or
inform decisions about future program development.
Evaluation Plan: A written document describing the overall approach that will be used to guide
an evaluation, including why the evaluation is being conducted, how the findings will likely be
used, and the design and data collection sources and methods. The plan specifies what will be
done, how it will be done, who will do it, and when it will be done. The NOFO evaluation plan is
used to describe how the recipient and/or CDC will determine whether activities are
implemented appropriately and outcomes are achieved.
Federal Funding Accountability and Transparency Act of 2006 (FFATA): Requires that
information about federal awards, including awards, contracts, loans, and other assistance and
payments, be available to the public on a single website at www.USAspending.gov.
Fiscal Year: The year for which budget dollars are allocated annually. The federal fiscal year
starts October 1 and ends September 30.
Grant: A legal instrument used by the federal government to transfer anything of value to a
recipient for public support or stimulation authorized by statute. Financial assistance may be
money or property. The definition does not include a federal procurement subject to the Federal
Acquisition Regulation; technical assistance (which provides services instead of money); or
assistance in the form of revenue sharing, loans, loan guarantees, interest subsidies, insurance, or
direct payments of any kind to a person or persons. The main difference between a grant and a
cooperative agreement is that in a grant there is no anticipated substantial programmatic
involvement by the federal government under the award.
Grants.gov: A "storefront" web portal for electronic data collection (forms and reports) for
federal grant-making agencies at www.grants.gov.
Grants Management Officer (GMO): The individual designated to serve as the HHS official
responsible for the business management aspects of a particular grant(s) or cooperative
agreement(s). The GMO serves as the counterpart to the business officer of the recipient
organization. In this capacity, the GMO is responsible for all business management matters
associated with the review, negotiation, award, and administration of grants and interprets grants
administration policies and provisions. The GMO works closely with the program or project
officer who is responsible for the scientific, technical, and programmatic aspects of the grant.
Grants Management Specialist (GMS): A federal staff member who oversees the business and
other non-programmatic aspects of one or more grants and/or cooperative agreements. These

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activities include, but are not limited to, evaluating grant applications for administrative content
and compliance with regulations and guidelines, negotiating grants, providing consultation and
technical assistance to recipients, post-award administration and closing out grants.
Health Disparities: Differences in health outcomes and their determinants among segments of
the population as defined by social, demographic, environmental, or geographic category.
Health Equity: Striving for the highest possible standard of health for all people and giving
special attention to the needs of those at greatest risk of poor health, based on social conditions.
Health Inequities: Systematic, unfair, and avoidable differences in health outcomes and their
determinants between segments of the population, such as by socioeconomic status (SES),
demographics, or geography.
Healthy People 2030: National health objectives aimed at improving the health of all Americans
by encouraging collaboration across sectors, guiding people toward making informed health
decisions, and measuring the effects of prevention activities.
Inclusion: Both the meaningful involvement of a community’s members in all stages of the
program process and the maximum involvement of the target population that the intervention
will benefit. Inclusion ensures that the views, perspectives, and needs of affected communities,
care providers, and key partners are considered.
Indirect Costs: Costs that are incurred for common or joint objectives and not readily and
specifically identifiable with a particular sponsored project, program, or activity; nevertheless,
these costs are necessary to the operations of the organization. For example, the costs of
operating and maintaining facilities, depreciation, and administrative salaries generally are
considered indirect costs.
Intergovernmental Review: Executive Order 12372 governs applications subject to
Intergovernmental Review of Federal Programs. This order sets up a system for state and local
governmental review of proposed federal assistance applications. Contact the state single point
of contact (SPOC) to alert the SPOC to prospective applications and to receive instructions on
the State’s process. Visit the following web address to get the current SPOC list:
https://www.whitehouse.gov/wp-content/uploads/2017/11/Intergovernmental_-Review-
_SPOC_01_2018_OFFM.pdf.
Letter of Intent (LOI): A preliminary, non-binding indication of an organization’s intent to
submit an application.
Lobbying: Direct lobbying includes any attempt to influence legislation, appropriations,
regulations, administrative actions, executive orders (legislation or other orders), or other similar
deliberations at any level of government through communication that directly expresses a view
on proposed or pending legislation or other orders, and which is directed to staff members or
other employees of a legislative body, government officials, or employees who participate in
formulating legislation or other orders. Grass roots lobbying includes efforts directed at inducing
or encouraging members of the public to contact their elected representatives at the federal, state,
or local levels to urge support of, or opposition to, proposed or pending legislative proposals.
Logic Model: A visual representation showing the sequence of related events connecting the
activities of a program with the programs’ desired outcomes and results.

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Maintenance of Effort: A requirement contained in authorizing legislation, or applicable
regulations that a recipient must agree to contribute and maintain a specified level of financial
effort from its own resources or other non-government sources to be eligible to receive federal
grant funds. This requirement is typically given in terms of meeting a previous base-year dollar
amount.
Memorandum of Understanding (MOU) or Memorandum of Agreement
(MOA): Document that describes a bilateral or multilateral agreement between parties
expressing a convergence of will between the parties, indicating an intended common line of
action. It is often used in cases where the parties either do not imply a legal commitment or
cannot create a legally enforceable agreement.
Nonprofit Organization: Any corporation, trust, association, cooperative, or other organization
that is operated primarily for scientific, educational, service, charitable, or similar purposes in the
public interest; is not organized for profit; and uses net proceeds to maintain, improve, or expand
the operations of the organization. Nonprofit organizations include institutions of higher
educations, hospitals, and tribal organizations (that is, Indian entities other than federally
recognized Indian tribal governments).
Notice of Award (NoA): The official document, signed (or the electronic equivalent of
signature) by a Grants Management Officer that: (1) notifies the recipient of the award of a grant;
(2) contains or references all the terms and conditions of the grant and Federal funding limits and
obligations; and (3) provides the documentary basis for recording the obligation of Federal funds
in the HHS accounting system.
Objective Review: A process that involves the thorough and consistent examination of
applications based on an unbiased evaluation of scientific or technical merit or other relevant
aspects of the proposal. The review is intended to provide advice to the persons responsible for
making award decisions.
Outcome: The results of program operations or activities; the effects triggered by the program.
For example, increased knowledge, changed attitudes or beliefs, reduced tobacco use, reduced
morbidity and mortality.
Performance Measurement: The ongoing monitoring and reporting of program
accomplishments, particularly progress toward pre-established goals, typically conducted by
program or agency management. Performance measurement may address the type or level of
program activities conducted (process), the direct products and services delivered by a program
(outputs), or the results of those products and services (outcomes). A “program” may be any
activity, project, function, or policy that has an identifiable purpose or set of objectives.
Period of performance –formerly known as the project period - : The time during which the
recipient may incur obligations to carry out the work authorized under the Federal award. The
start and end dates of the period of performance must be included in the Federal award.
Period of Performance Outcome: An outcome that will occur by the end of the NOFO's
funding period
Plain Writing Act of 2010: The Plain Writing Act of 2010 requires that federal agencies use
clear communication that the public can understand and use. NOFOs must be written in clear,


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consistent language so that any reader can understand expectations and intended outcomes of the
funded program. CDC programs should use NOFO plain writing tips when writing NOFOs.
Program Strategies: Strategies are groupings of related activities, usually expressed as general
headers (e.g., Partnerships, Assessment, Policy) or as brief statements (e.g., Form partnerships,
Conduct assessments, Formulate policies).
Program Official: Person responsible for developing the NOFO; can be either a project officer,
program manager, branch chief, division leader, policy official, center leader, or similar staff
member.
Public Health Accreditation Board (PHAB): A nonprofit organization that works to promote
and protect the health of the public by advancing the quality and performance of public health
departments in the U.S. through national public health department
accreditation http://www.phaboard.org.
Social Determinants of Health: Conditions in the environments in which people are born, live,
learn, work, play, worship, and age that affect a wide range of health, functioning, and quality-
of-life outcomes and risks.
Statute: An act of the legislature; a particular law enacted and established by the will of the
legislative department of government, expressed with the requisite formalities. In foreign or civil
law any particular municipal law or usage, though resting for its authority on judicial decisions,
or the practice of nations.
Statutory Authority: Authority provided by legal statute that establishes a federal financial
assistance program or award.
System for Award Management (SAM): The primary vendor database for the U.S. federal
government. SAM validates applicant information and electronically shares secure and encrypted
data with federal agencies' finance offices to facilitate paperless payments through Electronic
Funds Transfer (EFT). SAM stores organizational information, allowing www.grants.gov to
verify identity and pre-fill organizational information on grant applications.
Technical Assistance: Advice, assistance, or training pertaining to program development,
implementation, maintenance, or evaluation that is provided by the funding agency.
Work Plan: The summary of period of performance outcomes, strategies and activities,
personnel and/or partners who will complete the activities, and the timeline for completion. The
work plan will outline the details of all necessary activities that will be supported through the
approved budget.
NOFO-specific Glossary and Acronyms
Health equity (2) is achieved when every person has the opportunity to “attain his or her full
health potential” and no one is “disadvantaged from achieving this potential because of social
position or other socially determined circumstances.”

Underserved communities refers to populations sharing a particular characteristic, as well as
geographic communities, that have been systematically denied a full opportunity to participate in
aspects of economic, social, and civic life. Populations can include but are not limited to: African
American, Latino, and Indigenous and Native American persons, Asian Americans and Pacific

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Islanders and other persons of color; members of religious minorities; lesbian, gay, bisexual,
transgender, and queer (LGBTQ+) persons; persons with disabilities; persons who live in rural
communities; and persons otherwise adversely impacted by persistent poverty or
inequality (Definition modified from the Executive Order On Advancing Racial Equity and
Support for Underserved Communities Through the Federal Government, January 20, 2021).




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"%#&$5&#!:"&&1;'$4&5"+!$#4")%4+(#"""% $&')&'#5&!"$($'<=
 $$"4+=:!)$6<&'!"$&'%#)>#')$""%#&$",-./014$"'9$&"$&'
)$5>$9%&"69$&"$&')$5>$9%&"(#'!$4#%#"'"
$%4#$""?)"!"$&'%#)6@("$""$&'%#)#>="9$&"$&')$5>
$9%&"$&4&9&) $+$"#4#%#"'$&"6%#&$5&!"#$($'#
?)5>$!"'$"""#&+@5)!A($'6BB
@$''#5&$4$)5>#5)$&*)&')"'=$&'&$''#5&$4)"%$+*#&)'6C&*4#9$"'$($'
*$4$&)(#44*'1*4#9$"'*+,0,6B
9DEFG/&'"!$)#4#"$"$&'4+)4"=($H5&9"$"+*%#"$44)4"
"#'&5I'*4((#"#&"#"+JKLM'$+!"'$"!"#@A68*%#""')%&"$5&$$
:N$&",4"<$%&'%&"#&N$&"845&65&95%!$%#"!44#'!
!%$&)6O4$&"=#!+!$#4"*%#"5%4+$&'$))$""=,0,%$+$4"
&!)%&"$)5&PQ,;RO$"SQ6KS26B
 DTUVWTXEE2YG#"4'#&)4'"#&!%$5&)#I'#&"@5)
!;&'#&9-"&#"+J@-;-M6A"$%#&#%%=""(#44#&)4'"!44(#&9B
        Z8"$"%&"!9 %$'"($'"$)#>%&"!#9#&$44+"$"'$#% 6B
        Z0)#5&!4"J#5>&9$5>M)&#''#9&#I)$&"6B
        Z[#"!*4#)$5&45&9!%"\)"=(#"4$&=#!$&+=!!"*4#)$5&6B
B
 D]DVD2YG^ 2_4`abcd;;R4'&4+#&)4'"!&'$"#e'$&'
f&'''#&9"5%!$%)>'*+""6I&$4"%"#&'#)$""f$)"*$4$&)
!&*4#9$"'!&'$&'%$+&"g)"$&+&4#H#'$"'*4#9$5&684'"$%&"&"%$")
(#""I&$4f&'#""'""O$+%&"h$&$9%&"8+"%JOh8M=+(#44*H#'"
'$"+""Oh8$))'#&94+6B
1iFYG]4FYYDE`0XjDTEDTYGk2YG^4`abldA)%4"'8;1Pmn'"$#4#&9$44
%$\H#%&"$)H#'(#"$&#"$)H##5&)"!o2L=LLL%6/!&H#%&"($
$)H#'&'"$($'=$&9$5>"#H#'B
